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                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                               )
    In re:                                     )                Chapter 11
                                               )
                1
    HONX, INC.,                                )                Case No. 22-90035 (MI)
                                               )
                      Debtor.                  )
    __________________________________________ )
                                               )
    HONX, INC.,                                )
                                               )
                                               )
                      Plaintiff.               )                Adv. Proc. No. 22-[_____] (MI)
                                               )
    THOSE PARTIES LISTED IN APPENDIX A TO )                     (Emergency Hearing Requested)
    COMPLAINT and JOHN AND JANE DOES 1- )
    1000,                                      )
                                               )
                      Defendants.              )
                                               )



                           COMPLAINT FOR INJUNCTIVE RELIEF




1
      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax
      identification number, is HONX, Inc. (2163). The location of the Debtor’s service address in
      this chapter 11 case is: 1501 McKinney Street, Houston, Texas, 77010.

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       HONX, Inc., as debtor and debtor-in-possession in the above-captioned chapter 11 case

(“HONX” or the “Debtor”), files this complaint (the “Complaint”) against plaintiffs (the “Asbestos

Claimants”) in current and future asbestos and toxic substance-related actions against the Debtor

and its parent, Hess Corporation (“Hess”), arising from Hess Oil Virgin Island Corp. (“HOVIC”),

the Debtor’s corporate predecessor, and/or HOVENSA L.L.C.’s (“HOVENSA”) ownership and/or

operation of an oil refinery in St. Croix (the “Refinery”) from 1965 through 2015 (the “Asbestos

Claims”). These Asbestos Claims include the pending actions identified in Appendix A (“Pending

Actions”). For the reasons detailed herein and in the Declaration of Todd R. Snyder, Chief

Administrative Officer of HONX, Inc., In Support of Chapter 11 Petition and First Day Motions

(the “First Day Declaration”), the Debtor requests that the United States Bankruptcy Court for the

Southern District of Texas (the “Court”) issue a temporary restraining order prohibiting Kadar

Mohansingh from continuing to prosecute Mohansingh v. Hess Oil Virgin Islands Corp., et al.,

SX-2006-CV-00231 (V.I. Super. Ct.) (the “Mohansingh Action”), against Hess. The Debtor also

requests that the Court issue a preliminary (and ultimately permanent) injunction pursuant to

section 105 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),

enjoining the plaintiffs in the Pending Actions (including Mohansingh) from continuing to

prosecute such Actions through the effective date of any plan confirmed in the Debtor’s chapter 11

case. Finally, the Debtor asks that the Court, pursuant to section 362 of the Bankruptcy Code,

extend the automatic stay as to Hess and enjoin the plaintiffs in the Pending Actions (including the

Mohansingh Action) from continuing to prosecute such Actions through the effective date of any

plan confirmed in the Debtor’s chapter 11 case. In support of its Complaint, the Debtor alleges as

follows:




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                                      PRELIMINARY STATEMENT

         1.      Over the last three decades, the Debtor and Hess have been mired in litigation

stemming from plaintiffs’ alleged exposure to asbestos and other toxic substances at the Refinery

that was previously owned and operated by the Debtor’s predecessor, HOVIC. 2 HONX and its

predecessors have been in existence for 57 years, owned and operated the Refinery for more than

30 years, and have defended against asbestos and toxic tort liabilities for decades. The Debtor no

longer owns or operates the Refinery, and has not had any operational role in the Refinery for 24

years.

         2.      The specific cases at issue in this adversary proceeding instead stem from alleged

exposure to asbestos and other toxic substances that occurred as far back as 1966, when the

Refinery first began operations. The Refinery was originally constructed in 1965 by HOVIC,

which owned and operated it until 1998. The Debtor ceased operating the Refinery in 1998 and

has not held any financial interest in the Refinery since 2016. In fact, the Debtor has no current

operations, employees, or assets—and as a result, Hess for all practical matters is responsible for

both managing and funding the Debtor’s defense of the Pending Actions and has now committed

to fund this chapter 11 case, subject to the conditions set forth in the funding agreement with Hess

(“Funding Agreement”), as defined in the First Day Declaration.

         3.      There are currently approximately 580 cases alleging toxic substance exposure

from the Refinery against either the Debtor alone or the Debtor and Hess as co-defendants. 3 Until


2
    Any references to HOVIC, HONYC, or HONX in this motion all refer to the same entity—the Debtor—at
    different points in the Debtor’s corporate history. In May 2020, for efficiency reasons and to consolidate its
    corporate entities closer to its business operations, Hess effectuated a plan of merger pursuant to which HOVIC
    merged with and into a newly-formed New York corporation, Hess Oil New York Corp. (“HONYC”). Prior to
    the commencement of this chapter 11 case, HONYC changed its name to HONX. See Part I of the First Day
    Declaration and Exhibit B thereto for a discussion and illustration of the Debtor’s corporate history.

3
    In total, there are over 700 cases alleging damages arising from the Refinery filed against the Debtor and/or Hess.


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recently, the vast majority of these cases—nearly all pending in territorial courts in the U.S. Virgin

Islands—had remained relatively dormant, with no trials scheduled. This changed in July 2021,

when the U.S. Virgin Islands legislature passed a “preference statute” allowing individuals over

age 65 to request an expedited trial date within 180 days. The trial in the first of these preference

cases—the Mohansingh Action—is scheduled to begin on May 2, 2022.

        4.      To effectuate a successful resolution of this chapter 11 case and work toward the

funding of a section 524(g) trust to fairly and definitively resolve the Pending Actions, immediate

equitable relief is necessary in addition to the automatic stay’s protection of the Debtor. To that

end, this Complaint seeks three forms of relief that are critical to the success of this chapter 11

case:

        5.      First, a temporary restraining order staying the impending Mohansingh Action is

necessary for preserving the Debtor’s legal rights and allowing Hess—the Debtor’s parent and

funding source—to focus its efforts and resources on the section 524(g) negotiations rather than

defending itself in trial.

        6.      The Mohansingh Action threatens to upend this chapter 11 case at its most critical

juncture. The complaint in the Mohansingh Action does not distinguish between Hess and the

Debtor, but rather alleges identical causes of action resting on the same core facts and theories of

causation. Mohansingh’s theory of liability as to Hess is premised on (1) Hess’s alleged supply of

asbestos-containing materials to the Debtor for use in the Refinery, and/or (2) Hess’s alleged

control over operations at the Refinery. But to prevail on any of his claims against non-Debtor

Hess, Mohansingh must marshal evidence showing that the Debtor failed to protect its employees

against exposure to toxic levels of asbestos at the Refinery.




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       7.      As a result, the Mohansingh Action will decide critical issues of law and fact which

lie at the core of this chapter 11 case and subsequent negotiations with the Debtor’s asbestos

creditors. The threshold issue in the Mohansingh trial is whether Mohansingh was exposed to

hazardous levels of asbestos and other toxic substances at the Refinery that the Debtor (not Hess)

owned and operated. Resolution of this threshold question will undoubtedly affect the Debtor’s

legal rights and defenses, and thereby frustrate the goal of this chapter 11 case: the establishment

of a section 524(g) trust to be funded by a contribution from Hess. A temporary restraining order

is thus necessary to maintain the status quo and allow the Debtor to proceed through this chapter 11

case efficiently and effectively and to reach an equitable result for the Debtor and the Asbestos

Claimants.

       8.      Second, the Court should, pursuant to section 105, issue a preliminary (and

ultimately permanent) injunction staying all Pending Actions (including the Mohansingh Action)

through the effective date of any chapter 11 plan in the Debtor’s case. Hess is instrumental to a

successful chapter 11 case for the Debtor. The Debtor and its non-debtor parent Hess are

co-defendants in over 570 Pending Actions in the U.S. Virgin Islands stemming from plaintiffs’

alleged exposure to asbestos and other toxic substances at the Refinery. Hess has never owned or

operated the Refinery, yet plaintiffs—like Mohansingh—have consistently lodged the same core

allegations and claims against Hess because Hess is the Debtor’s parent corporation and has

become the Debtor’s funding source since the Debtor became a non-operating entity after the

Refinery shut down in 2015. The Debtor no longer owns or operates the Refinery, has no assets

or employees of its own, and therefore must rely on Hess to fund this chapter 11 case.

       9.      Failing to enjoin the Pending Actions against Hess would thus jeopardize this

chapter 11 case in two fundamental ways. For one thing, allowing the plaintiffs in the Pending



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Actions to move forward with their claims against Hess would effectively require the Debtor to

continue litigating hundreds of lawsuits to protect its own legal interests, thus undermining the

whole purpose of the automatic stay. As discussed, resolution of the threshold question in each of

the Pending Actions—just as in the Mohansingh Action—and the focus of discovery, expert

testimony, motions practice, and each trial verdict will directly implicate the Debtor’s legal rights

and defenses. For instance, each of these hundreds of cases could involve critical expert disputes

concerning the alleged toxicity of asbestos-containing products at the Refinery, depositions of the

Debtor’s former employees, and legal conclusions concerning alleged negligence or fraud. There

is, accordingly, no practical way to stay the Pending Actions against the Debtor while allowing

hundreds of lawsuits to proceed against Hess. Despite the automatic stay, absent an injunction of

the Pending Actions, the Debtor will be forced to continue defending those Actions to avoid

evidentiary and other determinations that may prejudice the resolution of those Actions and other

claims in this chapter 11 case.

       10.     Moreover, litigating the Pending Actions would force Hess—the Debtor’s parent

and source of funding for its chapter 11 case—to focus its resources on litigation defense rather

than negotiating a settlement with the Debtor and its creditors, and establishing a section 524(g)

trust, further frustrating the Debtor’s ability to achieve an equitable outcome in this chapter 11

case. In the last two years alone, plaintiffs represented by a single Texas law firm—Burns Charest

LLP (“Burns Charest”)—have filed over 500 new cases against Hess and the Debtor, the vast

majority of which are premised on liability for HOVIC’s operations that occurred over two decades

ago. As explained in the First Day Declaration, the volume and expense of managing and litigating

this asbestos-related litigation has and will continue to impose substantial financial, administrative,

and operating burdens on the Debtor and Hess, and there is no end in sight: Burns Charest has



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informed the Debtor that they expect to file approximately 500 more lawsuits alleging similar

claims in the next several years. These pending and future actions threaten to overwhelm the

chapter 11 case unless an injunction is entered, and the Debtor is counting on Hess’s resources to

achieve an equitable resolution of these chapter 11 cases, including through funding the section

524(g) trust.

       11.      Third, the court should extend the automatic stay to Hess pursuant to section 362

of the Bankruptcy Code. The automatic stay ensures that the Debtor can focus its efforts and

resources on a fair and efficient resolution to all current and future asbestos-related claims against

it through the creation of a 524(g) trust. Extending the stay to Hess is essential to preserving the

Debtor’s legal rights and defenses and accomplishing its chapter 11 goals here. Absent a stay of

the Pending Actions against Hess, the litigation status quo will not change. The plaintiffs in those

Pending Actions will simply continue to litigate the exact same asbestos-related claims that are

being asserted against the Debtor, with the effect that the Debtor will be dragged back into the

litigation and the Debtor’s parent—who is funding the Debtor’s chapter 11 case—will be pulled

away from chapter 11 plan negotiations. This would prejudice the Debtor’s right to defend against

the plaintiffs’ allegations and hinder the Debtor’s chapter 11 plan negotiations. It will also distract

the funding source of the Debtor’s case (and proposed section 524(g) trust), risking the dissipation

of funds that Hess would otherwise contribute to the Debtor’s case. Therefore, to achieve the goal

of a confirmed chapter 11 plan and section 524(g) trust, a stay of the Pending Actions against the

Debtor and non-debtor Hess is absolutely necessary.

                                          THE PARTIES

       12.      HONX is a New York corporation with its principal place of business in Houston,

Texas. HONX is a non-operating, wholly-owned subsidiary of Hess. Almost all of the Debtor’s

current liabilities are legacy liabilities of HOVIC stemming from HOVIC’s ownership of the

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Refinery from 1965 to 1998. HONX currently has no operations, no employees, minimal assets

other than the assets provided via the Funding Agreement as discussed below, and no funded debt.

        13.    Hess is a Delaware corporation with its principal place of business in New York,

New York, and regional headquarters in Houston, Texas. Hess is a global exploration and

production company engaged in exploration, development, production, transportation, purchase

and sale of crude oil, natural gas liquids, and natural gas.

        14.    The plaintiffs in the Pending Actions, identified in Appendix A, may, at any time

while the chapter 11 case is pending, seek to pursue the Asbestos Claims against the Debtor or

Hess.

        15.    Each of Defendants John and Jane Does 1-1000 is a prospective plaintiff who may,

at any time while the chapter 11 case is pending, seek to commence an action to pursue the

Asbestos Claims against the Debtor or Hess.

                                 JURISDICTION AND VENUE

        16.    The Court has jurisdiction over the parties and the subject matter of this proceeding

pursuant to 28 U.S.C. §§ 1334 and Rules 7001(7) and 7065 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rule(s)”). This is a core proceeding pursuant to 28 U.S.C. § 157(b).

Pursuant to Bankruptcy Rule 7008 and Rule 7008-1 of the Bankruptcy Local Rules for the

Southern District of Texas (the “Bankruptcy Local Rules”), the Debtor consents to the entry of

final orders or judgment by this Court.

        17.    Venue is proper before the Court pursuant to 28 U.S.C. § 1409.




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                                  FACTUAL BACKGROUND

Prior Owners of the St. Croix Refinery

       18.     HONX is the successor of several corporate entities who owned and operated the

Refinery beginning with its initial construction in 1965. HOVIC constructed, owned, and operated

the Refinery from the beginning of the Refinery’s construction in 1965 until 1998.

       19.     In 1998, HOVIC formed a 50-50 joint venture with the national oil company of

Venezuela, Petróleos de Venezuela, S.A., in which each company held a 50% interest in

HOVENSA, the new owner and operator of the Refinery. The effect of this joint venture was that

the Debtor had an indirect 50% ownership interest in the Refinery but no longer operated it.

HOVENSA acquired the Refinery through the joint venture transaction and operated the Refinery

from October 1998 until February 2012. In February 2012, the Refinery ceased all refining

operations after suffering losses of $1.3 billion in its last three years of operation. For the next

three years, HOVENSA used the Refinery as an oil storage facility until the Refinery was

completely shut down in March 2015.

HOVENSA Bankruptcy and Releases

       20.     On September 16, 2015, HOVENSA filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code to run a sale process for its assets that also ultimately led to the

resolution of HOVENSA’s environmental liabilities. The sale transaction was completed in

January 2016, and since that time, HOVIC has not held any financial interest in the Refinery. The

Debtor does not have any business operations currently in the U.S. Virgin Islands. Hess has never

had any business operations in the U.S. Virgin Islands.

       21.     As part of HOVENSA’s chapter 11 plan, Hess and the Debtor received a full release

of all direct and derivative claims held by HOVENSA’s estate. In addition, Hess and the Debtor

received certain releases of all claims arising from HOVENSA’s operation of the Refinery from

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third parties that voted in favor of the plan and did not affirmatively opt out of those releases. To

the extent any third party did not vote to accept or reject the plan, voted to reject the plan, or

affirmatively opted out of the plan releases, their claims for alleged injuries arising from

HOVENSA’s operations of the Refinery were not released.

       22.     After the HOVENSA bankruptcy, the Debtor had no operations or ownership

interests in St. Croix, and there was no longer any operational purposes for a Virgin Islands-based

subsidiary. Consequently, in May 2020, HOVIC merged with and into a newly-formed New York

corporation, HONYC.

Relevant History of the Refinery

       23.     The Debtor’s sole relationship to asbestos-containing products (and related

litigation) is as the owner and operator of the Refinery, which was designed and built by

independent contractors. The Debtor has never manufactured or sold any asbestos-containing

products. Hess, for its part, has never owned or operated the Refinery, nor has it manufactured,

maintained, or possessed any asbestos-containing products in relation to the Refinery. Throughout

its history, the Debtor contracted with general and independent contractors to design and construct

the Refinery, including by sourcing, installing, and managing the insulation. These contractors

were contractually and legally responsible for the safety of their employees, including warning

and protecting them from exposure to asbestos and following all applicable laws and regulations.

       24.     The Debtor broke ground on the Refinery in 1965, and completed the final phase

of construction in 1974.     During that time, the Debtor contracted with numerous general

contractors and engineering companies to design and construct the Refinery and to provide the

Debtor with the services and materials necessary to complete construction of the Refinery. The

lead general contractor during the majority of construction was Litwin Corporation (later Litwin



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PanAmerican), who was responsible for, among other things, designing refining units, purchasing

materials, and inspecting and managing construction of the refining units. Thus, while the Debtor

reviewed the specifications and plans throughout the construction of the Refinery, all of the

material specifications—including the specifications for insulation products—were developed by

outside contractors and provided to the Debtor.

       25.     Refining processors require insulation materials that must meet certain design and

material specifications to perform under extremely high temperatures. During construction of the

Refinery and until the 1980s, the Debtor did not have its own insulation specifications but instead

relied on the design specifications of its general contractors. During the construction of the

Refinery in the 1960s and early 1970s, those design specifications could be fulfilled through the

supply of calcium silicate or, in the alternative, asbestos. While calcium silicate is considered a

safe alternative to asbestos, some calcium silicate insulation in the 1960s and 1970s made use of

asbestos fibers. As a result, the Debtor’s general contractors sourced and installed asbestos

insulation and calcium silicate containing asbestos during at least some of the phases of

construction of the Refinery, although the presence of asbestos at the Refinery was not confirmed

until 1982.

       26.     During the construction of the Refinery, Hess assisted in facilitating the purchase

of insulation materials by the Debtor.       Specifically, the Debtor would provide Hess with

specifications for the necessary insulation materials (including manufacturer, quantities,

diameters, and material type) and, in certain instances, Hess would facilitate the ordering of these

materials and assist in expediting the materials to the Debtor.

       27.     Hess never owned or possessed any of the asbestos-containing products it ordered

for the Debtor’s Refinery and shipped to St Croix. Instead, Hess acted merely as a conduit for the



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Debtor’s acquisition of the materials, facilitating the Debtor’s purchase of materials that were

ultimately installed in the Debtor’s Refinery by employees of the Debtor’s contractors.

Throughout the entirety of the Debtor’s operations at the Refinery, Hess’s presence at the Refinery

was limited to discrete oversight activities, including assisting the Debtor through periodic

inspections regarding worker safety and providing periodic guidance and recommendations

regarding safety and health policies and procedures.

       28.     The Debtor strictly prohibited the use of any asbestos-related products in 1983

following its first confirmation that insulation at the Refinery contained asbestos, and it took

extensive steps to ensure that its workers would not be exposed to hazardous levels of asbestos.

       29.     For example, the Debtor issued an asbestos policy modeled on OSHA regulations

and subsequently adopted the Hess Asbestos Policy and an Asbestos Management Program. The

HOVIC Policies and Procedures provided guidelines that were imposed on all contractors and their

employees. Before any workers were involved in the removal or cleanup of any potential

asbestos-containing insulation at the Refinery, the insulation was tested to confirm whether it

contained asbestos. If positive, a crew trained in removing asbestos-containing insulation would

remove the insulation using appropriate safety precautions that prevented the abatement crew and

other workers at the facility from exposure to asbestos. In 1987, the Debtor went even further and

instituted the Asbestos Abatement Program to proactively identify the presence of asbestos in the

areas of the facility where workers may be present and to facilitate its removal consistent with

national safety standards. These policies continued throughout the Debtor’s ownership and

operation of the Refinery.




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The Pending Asbestos Cases and the Imminent Mohansingh Action

       30.      Starting in 1987, numerous former Refinery workers began suing the Debtor and

Hess in the U.S. Virgin Islands for alleged exposure to asbestos and/or other toxic substances at

the Refinery.

       31.      Since that time, more than 1,000 plaintiffs have filed suit against the Debtor and

Hess in the U.S. Virgin Islands under numerous theories of tort liability, alleging exposure to

asbestos-containing compounds and other toxic substances at the Refinery.

       32.      In July 2021, the U.S. Virgin Islands legislature passed a preference statute

allowing individuals over age 65 to request an expedited trial date within 180 days. The trial in

the first of these preference cases—the Mohansingh Action—is scheduled to begin on

May 2, 2022.     The second expedited trial under the preference statute is scheduled for

October 2022, and discovery is ongoing in that case.

       33.      Jury selection in the Mohansingh Action began just last week, and opening

statements are set to begin May 2, 2022. The plaintiff, Kadar Mohansingh, filed his complaint

against Hess and the Debtor in 2006, alleging injuries due to exposure to asbestos “and

asbestos-containing products” while working at the Refinery from 1970–1981 and 1988–2009.

Mohansingh does not suffer from lung cancer or mesothelioma. In fact, Mohansingh has never

been diagnosed (outside of the litigation) with an asbestos-related disease. He suffers from

shortness of breath, due to his asthma, which is exacerbated by his obesity, advanced age, and

other non-employment related health conditions. After filing his complaint in 2006, Mohansingh

signed a release of all claims against the Debtor and Hess. In exchange for this release,

Mohansingh received approximately one year’s wages and continued healthcare coverage for

himself and his family. Hess and the Debtor subsequently moved for summary judgment on the

ground that Mohansingh’s claims were subject to this broad release. Despite agreeing that

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Mohansingh signed a broad release that covered his claims against both the Debtor and Hess, the

Mohansingh trial court nevertheless denied the motion on procedural grounds.

       34.     The complaint in the Mohansingh Action does not distinguish between Hess and

the Debtor. Instead, it alleges identical causes of action resting on the same core facts and theories

of causation against both the Debtor and Hess for: negligence; supply of dangerous chattel (i.e.,

asbestos-containing compounds); and fraudulent concealment of the inherent risk posed by

exposure to asbestos.

       35.     The claims against the Debtor and Hess in the Mohansingh Action are inextricably

intertwined and rest on the same core facts and theories of causation. Mohansingh’s theory of

liability as to Hess is premised on (1) Hess’s alleged supply of asbestos-containing materials to

the Debtor for use in the Refinery and/or (2) Hess’s alleged control over operations at the Refinery.

But to prevail on any of his claims against non-debtor Hess, Mohansingh must marshal evidence

showing that the Debtor failed to protect its employees against exposure to toxic levels of asbestos

at the Refinery. Thus, although the Mohansingh Action asserts claims against both the Debtor and

Hess, it is based on the allegedly negligent conduct of the Debtor.

       36.     The pretrial submissions in this case make clear that Mohansingh seeks to introduce

evidence at the upcoming trial showing that his alleged injuries were caused by asbestos exposure

at the Refinery that the Debtor failed to protect against and/or fraudulently concealed. Mohansingh

seeks to develop an evidentiary record establishing that: (1) the Debtor and Hess “knew that

putting millions of pounds of asbestos into the Refinery posed a foreseeable hazard to workers and

others”; (2) “asbestos was ubiquitous throughout the Refinery” throughout Mohansingh’s

employment; and (3) “adequate asbestos-handling procedures were not established on paper until




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1987” and “even after 1987, there was lax protection for the Refinery’s workers.” April 15, 2022

Jt. Final Pretrial Order, Mohansingh Action, at 3.

       37.     Mohansingh has identified 27 potential witnesses for the upcoming trial—only six

of whom could testify as to Hess’s conduct. Id. at 13–15. The remaining fact witnesses include

Mohansingh, his wife, and former co-workers at the Refinery who will testify about Mohansingh’s

alleged exposure to asbestos during his employment. For example, Mohansingh expects that one

of these former co-workers will testify that after Hurricane Hugo struck the U.S. Virgin Islands in

1989, “thousands of pounds of asbestos insulation and other materials were scattered throughout

the Refinery”; workers “picked up asbestos and other debris”; and that Mohansingh “constantly

came into contact with [asbestos-containing] insulation.” Id. at 4. The Debtor, of course, has

every interest in cross-examining this witness at trial and presenting testimony of its own witnesses

that would counter these allegations.

       38.     Hess, for its part, has argued throughout the litigation that it cannot held be liable

for conduct that occurred at a facility it never owned or operated, and it moved for summary

judgment on that ground. On April 19, 2022, the court in the Mohansingh Action denied Hess’s

motion for summary judgment. See generally Order Denying Defs.’ Mot. for Part. Summ. J. re

Premises Liability, Mohansingh Action. Although the automatic stay enjoins the Mohansingh

Action from proceeding against the Debtor, Mohansingh still intends to prosecute his claims as to

the non-Debtor, Hess.

The Debtor’s Settlement Efforts

       39.     Prior to filing the chapter 11 case, the Debtor and Hess made numerous attempts to

resolve the asbestos litigation through ad hoc settlement negotiations with plaintiffs’ counsel and

alternative dispute resolution.



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       40.     Between 2010 and 2017, the Debtor and Hess successfully settled the claims of 194

plaintiffs that had been pending in the U.S. Virgin Islands. In 2018, the Debtor and Hess entered

into a settlement agreement with approximately 498 plaintiffs and their counsel, including the

Burns Charest firm (the “Gomez Settlement”). As an out-growth of this settlement, the parties

negotiated an agreement whereby future claimants could submit their claims for pre-suit resolution

through non-binding mediation process facilitated by renowned mediator, Kenneth Feinberg.

       41.     Unfortunately, this near-global resolution of asbestos litigation against the Debtor

and Hess was short-lived: Despite the plain terms of the Gomez Settlement, the Debtor and Hess’s

attempt to resolve cases through the mediation process has proven difficult and incomplete. For

instance, the Debtor and Hess engaged with hundreds of plaintiffs represented by Burns Charest—

a signatory to the Gomez Settlement—but Burns Charest did not to follow through with the agreed

mediation process and began filing separate lawsuits instead. Indeed, in the last two years,

plaintiffs represented by Burns Charest have filed over 500 new cases against Hess and the Debtor,

all premised on liability for the Debtor’s and/or HOVENSA’s operations of the Refinery. Many

of these cases are now potentially eligible for an expedited trial schedule due to the preference

statute. Simply put, the mass settlement has only led to more and more litigation against an entity

with limited assets and no operations or revenue.

       42.     Each of the Pending Actions presents unique facts, circumstances, and allegations.

Although the lawsuits contain common allegations of asbestos exposure and related injuries, they

involve workers employed by different contractors, who worked in different roles, at different

times, in different areas of the Refinery, while different policies and procedures were in place.

Each plaintiff requires the assessment of a different health profile and different medical situation,




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which in turn requires substantial expert analysis and discovery into events that occurred decades

ago.

The Bankruptcy Case

         43.      The costs of resolving and defending the Pending Actions against the Debtor are

significant. Plaintiffs’ counsel has stated that it intends to file at least 500 more cases in the coming

years.     After careful consideration of the available alternatives, the Debtor concluded that

commencement of a chapter 11 case premised on using a trust and channeling injunction pursuant

to section 524(g) of the Bankruptcy Code was necessary to fairly, efficiently, and permanently

resolve all pending and future Asbestos Claims. This approach serves to the benefit of both the

Debtor, its related parties (if certain circumstances are met), and current and future plaintiffs who

will be able to take advantage of a singular process to resolve their claims. Accordingly, on

April 28, 2022, the Debtor commenced a chapter 11 case, at which point all litigation against the

Debtor was automatically stayed pursuant to section 362 of the Bankruptcy Code.

         44.      As described further in the First Day Declaration, prior to filing its chapter 11 case,

HONX negotiated a Funding Agreement pursuant to which Hess agreed to advance certain funds

for the chapter 11 case and a section 524(g) settlement trust under certain conditions specified

therein. Importantly, the Funding Agreement contains express “milestones” that trigger additional

funding.       Those milestones include obtaining a temporary restraining order enjoining the

Mohansingh Action within three business days of the filing of the chapter 11 case, and obtaining

an extension of the stay to Hess within 65 days of the filing of the chapter 11 case. Failure to reach

these milestones puts the Debtor’s funding—and the success of this bankruptcy case and funding

of an equitable trust under section 524(g) of the Bankruptcy Code—at risk.




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                             NATURE OF RELIEF REQUESTED

       45.     Through this Complaint, the Debtor requests three counts of relief to protect the

Debtor for the duration of this chapter 11 case. Count One requests a temporary restraining order

enjoining continued litigation of the Mohansingh Action as to Hess.

       46.     Count Two requests a preliminary injunction (and ultimately permanent)

injunction, pursuant to section 105 of the Bankruptcy Code, of all Pending Actions (including the

Mohansingh Action) until the effective date of any plan confirmed in the Debtor’s chapter 11 case.

       47.     Count Three requests a preliminary (and ultimately permanent) injunction,

pursuant to section 362 of the Bankruptcy Code, extending the automatic stay to Hess with respect

to all Pending Actions (including the Mohansingh Action) until the effective date of any plan

confirmed in the Debtor’s chapter 11 case. With a stay of the Pending Actions, the Debtor can

focus on prosecuting the chapter 11 case, conducting an estimation trial, and engaging with

stakeholders to negotiate and fund a section 524(g) trust without the distraction of (and dissipation

of funds from) ongoing litigation against Hess that implicates HONX.

                                          COUNT ONE

                      (Temporary Restraining Order as to Mohansingh)

       48.     To prevent the foregoing harmful effects upon the Debtor’s estate, the Debtor

requests that, on an emergency basis, the Court issue a temporary restraining order prohibiting and

enjoining the continued prosecution of the Mohansingh Action as to Hess.

       49.     Section 105(a) authorizes the Court to “issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of this title” and provides this Court with

broad, equitable powers to “assure the orderly conduct of the reorganization proceedings.” 11

U.S.C. § 105(a); In re Hunt, 93 B.R. 484, 491 (Bankr. N.D. Tex. 1988) (citing In re

Baldwin-United Corp. Litig., 765 F.2d 343, 348 (2d Cir. 1985)). Accordingly, “[t]he Court may

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issue injunctions as part of its equitable powers, pursuant to 11 U.S.C. § 105.” In re OGA Charters,

LLC, 554 B.R. 415, 424 (Bankr. S.D. Tex. 2016); see also In re Zale Corp., 62 F.3d 746, 761 (5th

Cir. 1995); In re Yukos Oil Co., 320 B.R. 130, 135 (Bankr. S.D. Tex. 2004). Bankruptcy courts

routinely invoke section 105(a) to enjoin actions against non-debtor entities that would frustrate a

successful chapter 11 case, including a case involving a section 524(g) trust and channeling

injunction.4

        50.      The Mohansingh Action against the Debtor would fall within the scope of section

524(g), as a personal injury action “seeking recovery for damages allegedly caused by the presence

of, or exposure to, asbestos or asbestos-containing products.” 11 U.S.C. § 524(g)(2)(B)(i)(I).

Section 524(g) expressly authorizes the extension of permanent injunctive relief to non-debtors

alleged to be directly or indirectly liable for asbestos claims against the debtor. 11 U.S.C.

§ 524(g)(4)(A)(ii) (“Notwithstanding the provisions of section 524(e), such an injunction may bar

any action directed against a third party who is identifiable from the terms of such injunction (by

name or as part of an identifiable group) and is alleged to be directly or indirectly liable for the

conduct of, claims against, or demands on the debtor[.]”). Given that the Debtor expects Hess to


4
    See, e.g., In re Zale Corp., 62 F.3d at 761 (temporary section 105 injunction may be imposed “when the third-party
    action will have an adverse impact on the debtor’s ability to accomplish reorganization”); In re Acis Cap. Mgmt.,
    L.P., 604 B.R. 484, 525 (N.D. Tex. 2019) (collecting cases), aff’d sub nom. Matter of Acis Cap. Mgmt., L.P., 850
    F. App’x 302 (5th Cir. 2021); In re Bestwall LLC, 606 B.R. 243, 253-58 (Bankr. W.D.N.C. 2019), aff’d, 2022
    WL 68763 (W.D.N.C. Jan. 6, 2022); In re Purdue Pharms. L.P., 619 B.R. 38, 57 (S.D.N.Y. 2020) (“§ 105(a) is
    properly used to enjoin creditors’ lawsuits against third parties where ‘the injunction plays an important part in
    the debtor’s reorganization plan’ or where the action to be enjoined ‘will have an immediate adverse economic
    consequence for the debtor’s estate’” (citation omitted)); see also In re Caesars Ent. Operating Co., Inc., 561
    B.R. 441, 451 (Bankr. N.D. Ill. 2016) (“Bankruptcy courts have often enjoined litigation against a non-debtor,
    usually but not always a guarantor of the debtor’s debts, who intends to contribute financially to the debtor’s
    reorganization.” (collecting cases)); Sec. Inv’r Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 443 B.R. 295,
    316 (Bankr. S.D.N.Y. 2011) (“[C]ourts have consistently utilized section 105(a) to extend section 362 to
    third-party actions against non-debtor entities ‘when a claim against the non-debtor will have an immediate
    adverse economic consequence for the debtor’s estate.’”) (quoting Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282,
    287 (2d Cir. 2003)), aff’d sub nom. In re Bernard L. Madoff Inv. Sec. LLC, 2011 WL 7975167 (S.D.N.Y. Dec.
    15, 2011); In re Calpine Corp., 365 B.R. 401, 409 n.20 (S.D.N.Y. 2007) (“Courts consistently have found that
    section 105(a) may be used to stay actions against non-debtors even where section 362 otherwise would not
    provide such relief, recognizing that section 105 grants broader authority than section 362.”).


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qualify for this relief at the conclusion of this chapter 11 case, it is appropriate to extend these

protections on a preliminary basis pending a final judgment.

       51.     The Debtor meets each of the four requirements for injunctive relief: “(1) a

substantial likelihood of success on the merits, (2) a substantial threat of irreparable injury if the

[temporary restraining order] is not issued, (3) that the threatened injury if the [temporary

restraining order] is denied outweighs any harm that will result if the [temporary restraining order]

is granted, and (4) that the grant of a [temporary restraining order] will not disserve the public

interest.” Jones v. Tex. Dep’t of Criminal Justice, 880 F.3d 756, 759 (5th Cir. 2018); see also In

re Yukos Oil Co., 320 B.R. at 135.

The Debtor is Likely to Succeed on the Merits

       52.     The Debtor will likely prevail on the merits of its request for an injunction halting

the Mohansingh Action during the pendency of the Debtor’s chapter 11 case. The Debtor must

only “show a likelihood of success on the merits rather than actual success” to obtain preliminary

relief, including a temporary restraining order. ICEE Distribs., Inc. v. J&J Snack Foods Corp.,

325 F.3d 586, 596 n.34 (5th Cir. 2003) (quoting Amoco Prod. Co. v. Vill. of Gambell, Alaska, 480

U.S. 531, 546 n.12 (1987)). To do so, “a plaintiff must present a prima facie case but need not

show a certainty of winning.” Texas v. United States, 328 F. Supp. 3d 662, 710 (S.D. Tex. 2018)

(internal citations omitted). The focus of the “likelihood of success” element is on the “purpose

of the requested injunction.” In re FiberTower Network Servs. Corp., 482 B.R. 169, 182 (Bankr.

N.D. Tex. 2012) (quoting 2 Collier on Bankruptcy ¶ 105.03[1][a] (16th ed. 2012)). The crux of

the inquiry is “whether this court is authorized and likely to grant the requested relief.” Id. at 183.

       53.     Here, the absence of a stay of the Mohansingh Action would threaten the Debtor’s

ability to successfully negotiate a settlement with claimants and fund a section 524(g) trust because

it will drag the Debtor into ongoing litigation and force Hess—the Debtor’s funding source—to

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focus its efforts and resources not on the chapter 11 case, but on the Mohansingh Action, which

involves identical claims against the Debtor and Hess. Litigating these identical claims presents

the risk of adverse rulings and findings as to the Debtor, compelling the Debtor’s involvement.

Failure to impose a stay also risks default of the Funding Agreement and losing funding for this

chapter 11 case and, ultimately, the section 524(g) trust. An injunction is thus essential, and the

lack of a stay threatens the Debtor’s ability to reorganize. See, e.g., In re Zale Corp., 62 F.3d at

761; A.H. Robins Co., Inc. v. Piccinin, 788 F.2d 994, 1003–06 (4th Cir. 1986) (stating that section

105 injunction may be appropriate where proceeding would have an adverse impact on debtor’s

ability to reorganize or deplete property of estate); In re Drexel Burnham Lambert Grp., Inc., 960

F.2d 285, 293 (2d Cir. 1992) (approving injunction because settlement was “unquestionably an

essential element” of reorganization and injunction a “key component” of settlement).

The Debtor Will Suffer Irreparable Harm Absent a Stay of the Mohansingh Action

       54.     The Debtor will suffer irreparable harm if the impending Mohansingh Action trial

proceeds against Hess. It is well settled that a debtor satisfies the requirement of irreparable harm

where he will suffer an injury “for which there is no adequate remedy at law” that is not speculative

or remote, but actual and imminent. See Daniels Health Scis., L.L.C. v. Vascular Health Scis.,

L.L.C., 710 F.3d 579, 585 (5th Cir. 2013); Allied Home Mortg. Corp. v. Donovan, 830 F. Supp. 2d

223, 227 (S.D. Tex. 2011). Moreover, “the mere fact that economic damages may be available

does not always mean that a remedy at law is ‘adequate.’” Janvey v. Alguire, 647 F.3d 585, 600

(5th Cir. 2011); see also In re OGA Charters, 554 B.R. at 424–25. Here, the Debtor will suffer

multiple, independent irreparable harms absent a stay of the Mohansingh Action.

       55.     First, the Mohansingh Action will determine critical issues of law and fact that bear

directly on the Debtor’s legal rights and defenses and implicate the core of the settlement



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negotiations at the center of this chapter 11 case. Without a stay, key issues related to the Refinery

and the Debtor’s alleged negligence in operating that Refinery will be decided in the Debtor’s

absence. There is a therefore material risk that findings of law or fact in the Mohansingh Action

could create an adverse record against the Debtor at a time where the Debtor is trying to focus its

efforts on negotiating a settlement with asbestos creditors that can resolve all Pending Actions on

fair and reasonable terms.5 As a result, the Debtor will have to redirect its efforts to continue trying

to manage the Mohansingh Action to protect its legal interests, while simultaneously trying to

negotiate an end to its liability through the chapter 11 case. “These are consequences the Debtor

should not be required to suffer (or be compelled to protect against).” In re Bestwall LLC, 606

B.R. at 256.

        56.      Second, continued prosecution of the Mohansingh Action will threaten the

Debtor’s ability to achieve its goal of a successful chapter 11 case through establishment of a

section 524(g) asbestos trust, which will be funded at least in part by Hess. Proceeding with the

Mohansingh Action will require Hess to redirect its attention and resources away from funding the

chapter 11 case, and toward the trial instead. That prejudices not only the Debtor, but the hundreds

of asbestos claimants who will ultimately seek to benefit from a section 524(g) trust in the

chapter 11 case. If the Mohansingh Action is not stayed, a monetary judgment in favor of

Mohansingh (in addition to Hess’s substantial legal expenditures to litigate the case to verdict) will

siphon off assets that would otherwise be used to fund a section 524(g) trust for the benefit of all

claimants. As a result, substantial assets that would otherwise be distributed fairly and equitably


5
    Even if the doctrine of collateral estoppel does not apply, the mere risk of preclusion also warrants a temporary
    stay. See In re Bestwall LLC, 606 B.R. at 256 (“Courts have concluded that the risks of collateral estoppel and
    res judicata warrant a stay of third-party litigation because allowing that litigation to proceed would thwart the
    purposes of the automatic stay.” (collecting cases)). The Debtor will not be able to “unring the bell” once evidence
    is introduced and becomes intertwined with other evidence and argument. Findings concerning those facts then
    pose a risk of future prejudice to the Debtor, despite its inability to litigate those issues at trial.


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through the section 524(g) trust will have to be redirected to defend against (and potentially pay)

a single plaintiff by virtue of his case being the first to reach a jury verdict.

        57.     Third, failure to obtain a temporary restraining order poses an existential threat to

the Debtor’s entire reorganization because without a stay, the Debtor risks losing the funding

necessary to carry the Debtor though the conclusion of its chapter 11 case. In addition to

covenanting to maintain a $10,000,000 reserve to fund any future section 524(g) trust, Hess has

committed to a baseline administrative expense fund of approximately $11,000,000, disbursed in

two tranches, with additional funding provided upon reaching certain milestones. The first

milestone is a temporary restraining order as to the Mohansingh Action, which is essential to

providing Hess and the Debtor breathing room to engage in the chapter 11 process with the

ultimate goal of reaching a resolution with plaintiffs. Continued litigation of the Mohansingh

Action therefore puts the Debtor’s funding arrangement—and the effectiveness of this chapter 11

case—at substantial risk.

        58.     Fourth, the Mohansingh Action will threaten the integrity of any potential future

estimation proceedings in the chapter 11 case because (as discussed above) Mohansingh is a highly

unrepresentative plaintiff who could skew the estimation for hundreds of other pending and future

plaintiffs. The goal of the estimation proceeding is for the Debtor—as the fiduciary of the

bankruptcy estate for the benefit of creditors—to establish a fair and equitable estimate of the

claims of all current and future asbestos plaintiffs, including by presenting evidence reflecting a

representative sample of claimants. Current and future asbestos claimants therefore may actually

have an interest in staying the Mohansingh Action to avoid a trial judgment that could skew the

estimation proceedings based on the claims of a highly unrepresentative plaintiff.




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The Balance of the Equities Weighs in Favor of the Debtor

       59.     Staying the Mohansingh Action will increase the odds of resolving hundreds of

pending and future cases on fair and equitable terms, while serving little to no prejudice to

Mohansingh. In considering a request for injunctive relief, a court must “balance the competing

claims of injury and . . . consider the effect on each party of the granting or withholding of the

requested relief.” Texas, 328 F. Supp. 3d at 740 (quoting Amoco Prod. Co., 480 U.S. at 542); see

also In re OGA Charters, 554 B.R. at 431 (noting that the “the analysis focuses on the degree to

which each party will be harmed if a preliminary injunction should be entered and whether, in

consideration of those harms, the harm of one party outweighs another”). Here, the Debtor is

seeking a limited stay of litigation which is essential to its reorganization goals. At worst,

Mohansingh would experience a slight delay in receiving any payment that he may be awarded,

but that momentary delay pales in comparison to the years Mohansingh has already spent litigating

his lawsuit through the tort system—to say nothing of the burdens of appeal if he obtains a

judgment.

The Public Interest Favors a Stay of the Mohansingh Action

       60.     The public interest favors entry of a temporary restraining order enjoining the

Mohansingh Action. “Evaluation of the public interest factor of the analysis ‘requires a balancing

of the public interest in successful bankruptcy reorganizations with other competing societal

interests.’” In re Calpine Corp., 365 B.R. at 413 (quoting 2 Collier on Bankruptcy ¶ 105.02[2]

(15th ed. 2006)). “In the bankruptcy context, the relevant public interest is the interest in

successful reorganizations, since reorganizations preserve value for creditors and ultimately the

public.” In re Caesars Ent. Operating Co., Inc., 561 B.R. at 453 (collecting cases); see also In re

Bestwall LLC, 606 B.R. at 258 (collecting cases); In re OGA Charters, 554 B.R. at 426. Staying

the Mohansingh Action is consistent with the public’s strong interest in efficiently and equitably

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resolving all asbestos-related claims through the centralized chapter 11 process, as reflected in the

text of section 524(g) and expounded upon in the relevant legislative history. See In re Grossman’s

Inc., 607 F.3d 114, 126–27 (3d Cir. 2010) (discussing legislative history); In re Fed.-Mogul Glob.

Inc., 684 F.3d 355, 359 (3d Cir. 2012) (quoting H.R. Rep. No. 103–835, at 46–48 (1994)). A stay

here is instrumental to achieving the dual purpose of section 524(g), so that Mohansingh and all

other asbestos claimants can achieve a fair and efficient resolution of their claims and the Debtor

can definitively put this litigation behind it as part of a successful reorganization.

       61.     For all of these reasons, it is appropriate for the Court to grant the temporary

restraining order on an emergency basis.

                                           COUNT TWO

                     (Section 105: Preliminary and Permanent Injunction)

       62.     The Court has broad authority under section 105(a) of the Bankruptcy Code to

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of [the Bankruptcy Code].” 11 U.S.C. § 105(a). Pursuant to section 105(a), this Court may enjoin

actions against third parties where necessary to prevent an adverse effect on the Debtor’s estate or

to assure the orderly administration of the Debtor’s chapter 11 case. Bankruptcy courts routinely

invoke section 105(a) to enjoin actions against non-debtor entities—like Hess—that would

frustrate a successful chapter 11 case, including the establishment of a section 524(g) trust and

channeling injunction. The Debtor seeks an injunction barring the plaintiffs in the Pending Actions

from commencing or continuing any Asbestos Claims—including the Mohansingh Action—

against Hess under section 105(a) of the Bankruptcy Code, through the effective date of any plan

confirmed in this chapter 11 case.

       63.     The Debtor meets each of the four requirements for a preliminary (and ultimately

permanent) injunction. See Jones, 880 F.3d at 759.

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        64.     First, there is a substantial likelihood that the Debtor will prevail on the merits of

its request for an injunction enjoining the Pending Actions during the pendency of the Debtor’s

chapter 11 case. For the reasons discussed above, there is ample support for entry of an injunction

here, because the absence of a stay would threaten the success of the Debtor’s efforts to achieve

consensus by dragging the Debtor back into the very litigation that is stayed by the filing of this

case. See In re Zale, 62 F.3d at 761; In re A.H. Robins, 788 F.2d at 1003-06; In re Drexel, 960

F.2d 285, 293 (2d Cir. 1992); see also 2 Collier on Bankruptcy ¶ 105.04 (16th ed. 2020) (“The

most notorious use of section 105 has been to seek to enjoin actions which, for one reason or

another, are not stayed by the automatic stay of section 362.”).

        65.     Second, the failure to grant the requested injunction would irreparably harm the

Debtor’s chapter 11 negotiations and ability to resolve all current and future Asbestos Claims

against it under section 524(g). The Asbestos Claims against Hess and the Debtor are based on

substantially identical conduct concerning the Debtor and/or HOVENSA’s operations of the

Refinery. Plaintiffs do not meaningfully distinguish between the Debtor and Hess and seek to hold

both jointly and severally liable for the same alleged conduct. Absent a stay of the trial, the

litigation will proceed as planned: plaintiffs will continue with discovery, dispositive motions,

and trial, and final judgments against Hess—all while the Debtor is pursuing its chapter 11 case.

This would prejudice the Debtor’s right to defend against the plaintiffs’ allegations concerning

HOVIC’s operations of the Refinery, which are directly relevant to the Debtor’s liability.

        66.     Furthermore, because the Asbestos Claims against Hess and the Debtor are

substantially similar, there is a material risk that findings of law or fact in the cases will create an

adverse record against the Debtor, and one that may conflict with the Court’s claim estimation

proceedings in the chapter 11 case. On top of all this, the costs and effort of defending against the



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Pending Actions will only continue to grow as more and more cases are scheduled for expedited

trials pursuant to the U.S. Virgin Island’s preference statute. Continued litigation of the Pending

Actions will require Hess’s involvement and supervision over the litigation, requiring funds and

resources that could otherwise be allocated towards supervising this chapter 11 case.

        67.     Third, the balance of the harms weighs heavily in favor of an injunction. Failure

to issue an injunction will not only cause significant harm to the Debtor’s reorganization goals,

but it will also prejudice certain plaintiffs by leading to different recoveries among similarly

situated claimants depending on whether they recover through the tort system or a future,

court-approved section 524(g) trust. On the other hand, the harm, if any, that issuing an injunction

might cause the plaintiffs is minimal.       Litigation, particularly mass tort asbestos litigation,

generally requires extensive discovery, involves numerous parties, and presents complicated

questions of causation. Such litigation is rarely efficient and often goes on for many years, as

many of the Pending Actions illustrate. By contrast, enjoining the Asbestos Claims in favor of a

section 524(g) trust in the chapter 11 case would allow for more efficient and uniform recoveries

for plaintiffs—including future claimants who have yet to institute litigation—than are typically

possible outside of the bankruptcy.

        68.     Finally, the public interest weighs strongly in favor of an injunction. As courts and

Congress have recognized, there is a substantial public interest in a successful chapter 11 case, and

injunctive relief is critical to the Debtor’s chapter 11 case for the reasons discussed already. It also

is in the public interest to promote justice in the court system by resolving all Asbestos Claims in

a fair and equitable manner. This result is not possible if piecemeal litigation of the Asbestos

Claims in the tort system circumvents the bankruptcy process. For that reason, a successful




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chapter 11 case—and an injunction that makes a successful case possible—serves the public

interest by fostering the resolution of thousands of claims in a uniform and equitable manner.

        69.     An injunction barring the Defendants from commencing or continuing any

Asbestos Claims against the Hess while the chapter 11 case remains pending is appropriate and

essential to the orderly and effective administration of the Debtor’s estate. Good cause exists for

the entry of injunctive relief pursuant to section 105 of the Bankruptcy Code and Bankruptcy Rule

7065.

                                          COUNT THREE

        (Preliminary and Permanent Injunction Extending Automatic Stay Pursuant to
                                       Section 362)

        70.     The purpose of section 362 of the Bankruptcy Code is to “give the debtor a

‘breathing spell’ from his creditors, and also, to protect creditors by preventing a race for the

debtor’s assets.” See, e.g., Garza v. CMM Enters., LLC (In re Garza), 605 B.R. 817, 827 (Bankr.

S.D. Tex. 2019); Commonwealth Oil Refin. Co. v. U.S. Env’t Prot. Agency (In re Commonwealth

Oil Refin. Co.), 805 F.2d 1175, 1182 (5th Cir. 1986) (citation omitted).

        71.     The Court has the authority to extend the automatic stay to non-debtor third parties

and may invoke section 362(a) to stay proceedings against non-debtors that “will have an adverse

impact on the debtor’s ability to accomplish reorganization.” See In re Matter of Zale Corp., 62

F.3d 746, 761, n.45 (5th Cir. 1995).

        72.     This is a textbook example of why section 362(a) exists. The continued prosecution

of the Pending Actions against Hess will entirely undermine the Debtor’s ability to achieve its

goals in this case. Without a stay of litigation against Hess, the Debtor will be forced to continue

participating in hundreds of actions to defend its rights while issues critical to the Debtor’s liability

in the underlying asbestos allegations are decided through the tort system. If the Pending Actions


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continue to proceed, the Debtor will have to decide whether to (a) participate in the Pending

Actions to protect its rights, and be burdened with the distraction of having to continue litigating

the Pending Actions in the midst of its chapter 11 efforts, or (b) not participate in the Pending

Actions and risk having its legal rights affected by the plaintiffs’ pursuit of Asbestos Claims

against Hess. At the same time, the Debtor’s parent—the sole source of the Debtor’s funding

under the Funding Agreement—will be tied up in costly litigation instead of focusing its efforts

and resources on chapter 11 plan negotiations and funding of the section 524(g) trust.

       73.     Failing to stay the Pending Actions against Hess would not only hamstring the

Debtor’s efforts at resolving its chapter 11 case, but it would also undermine the very purpose of

the automatic stay. Plaintiffs in the Pending Actions would effectively be permitted to sidestep

the automatic stay by continuing to litigate the Pending Actions against Hess alleging the same

facts and theories directed at the Debtor and its predecessors but without the Debtor at the table to

defend itself. Section 362(a) was implemented for precisely this reason, and should be employed

to enjoin Pending Actions against non-debtor Hess here.

                                    PRAYER FOR RELIEF

WHEREFORE, the Debtor respectfully requests the following relief:

       (i)     That this Court issue a temporary restraining order prohibiting Mohansingh from
               continuing to prosecute Mohansingh v. Hess Oil Virgin Islands Corp., et al.,
               SX-2006-CV-00231 (V.I. Super. Ct.), against Hess;

       (ii)    That this Court issue, pursuant to section 105 of the Bankruptcy Code, a preliminary
               (and ultimately permanent) injunction enjoining plaintiffs in the Pending Actions
               (including the Mohansingh Action) from prosecuting such actions until the
               effective date of any chapter 11 plan confirmed in the Debtor’s chapter 11 case;

       (iii)   That this Court issue, pursuant to section 362 of the Bankruptcy Code, a preliminary
               (and ultimately permanent) injunction enjoining plaintiffs in the Pending Actions
               (including the Mohansingh Action) from prosecuting such actions until the
               effective date of any chapter 11 plan confirmed in the Debtor’s chapter 11 case;

       (iv)    Grant such other and further relief as the Court may deem just and proper.

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Houston, Texas
April 28, 2022

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                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh

                                      Certificate of Service

        I certify that on April 28, 2022, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh




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                          Appendix A




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                                                              Appendix A


                              Claimant Name            Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                              Superior Court of the Virgin Islands,
Abraham Perez-Rivera                          Division of St. Croix.                            SX-2021-CV-00632       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Abraham, Narcisse                             Division of St. Croix.                            SX-2020-CV-00943       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Adams, Melvine Sr                             Division of St. Croix.                            SX-2020-CV-00883       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Agatha Louis                                  Division of St. Croix.                            SX-2020-CV-00995       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Agnes Alphonse                                Division of St. Croix.                            SX-2021-CV-00536       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Agnes Andrew                                  Division of St. Croix.                            SX-2021-CV-00107       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Agnes Dalsan                                  Division of St. Croix.                            SX-2021-CV-00646       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Agnes John                                    Division of St. Croix.                            SX-2021-CV-00157       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alana Finney                                  Division of St. Croix.                            SX-2021-CV-00720       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert Edwards, Jr                            Division of St. Croix.                            SX-2021-CV-00750       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert Elliott                                Division of St. Croix.                            SX-2021-CV-00424       Burns Charest LLP

                                              District Court of the Virgin Islands, Division
Albert Ince                                   of St. Croix.                                      1:2021-CV-00326       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert J Williams                             Division of St. Croix.                            SX-2020-CV-00885       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert Stanislas                              Division of St. Croix.                            SX-2021-CV-00849       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert Tayliam                                Division of St. Croix.                            SX-2022-CV-00080       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Albert Victor                                 Division of St. Croix.                            SX-2019-CV-00247       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alexander Charles                             Division of St. Croix.                            SX-2021-CV-00460       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alexander St Rose                             Division of St. Croix.                            SX-2021-CV-00143       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alexander, David Adrian                       Division of St. Croix.                            SX-2020-CV-00816       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alexandrine Abraham                           Division of St. Croix.                            SX-2021-CV-00880       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alicia Mars                                   Division of St. Croix.                            SX-2021-CV-00594       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alita V Theophilus-Phillipp                   Division of St. Croix.                            SX-2021-CV-00173       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Allan Austin                                  Division of St. Croix.                            SX-2021-CV-00829       Burns Charest LLP

                                              District Court of the Virgin Islands, Division
Allan English                                 of St. Croix.                                      1:2021-CV-00324       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alton Elliot                                  Division of St. Croix.                            SX-2021-CV-00724       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alvin Sonson                                  Division of St. Croix.                            SX-2021-CV-00741       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Alwyn John Baptiste                           Division of St. Croix.                            SX-2021-CV-00515       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Amelina Marc Louis                            Division of St. Croix.                            SX-2021-CV-00101       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Andre Jean                                    Division of St. Croix.                            SX-2022-CV-00068       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Andres Velazquez                              Division of St. Croix.                            SX-2021-CV-00169       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Angel Gautier                                 Division of St. Croix.                            SX-2021-CV-00742       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Angel Rodriguez                               Division of St. Croix.                            SX-2020-CV-00991       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Angel Santos-Rios                             Division of St. Croix.                            SX-2021-CV-00858       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Angela Faucher                                Division of St. Croix.                            SX-2021-CV-00110       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Angela Poleon                                 Division of St. Croix.                            SX-2021-CV-00730       Burns Charest LLP

                                              District Court of the Virgin Islands, Division
Anna Arnold                                   of St. Croix.                                      1:2021-CV-00192       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Anna Gordon                                   Division of St. Croix.                            SX-2022-CV-00073       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Annabelle Riviere                             Division of St. Croix.                            SX-2022-CV-00060       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Annette Parris-Delgado                        Division of St. Croix.                            SX-2021-CV-00153       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Anselm Alexander                              Division of St. Croix.                            SX-2004-CV-00602       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Anthony Laurencin                             Division of St. Croix.                            SX-2021-CV-00342       Burns Charest LLP
                                              Superior Court of the Virgin Islands,
Antoine Baptiste                              Division of St. Croix.                            SX-2021-CV-00737       Burns Charest LLP



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                            Claimant Name             Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                             Superior Court of the Virgin Islands,
Aquino-De la Rosa, Ovidio                    Division of St. Croix.                            SX-2020-CV-00868       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Arelis Pena-Arrendell                        Division of St. Croix.                            SX-2021-CV-00440       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Arlington Bergan                             of St. Croix.                                      1:2021-CV-00323       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Arroyo, Hector                               Division of St. Croix.                            SX-2020-CV-00958       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Arthur Carter                                of St. Croix.                                      1:2021-CV-00297       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Arthur John Baptiste                         Division of St. Croix.                            SX-2021-CV-00140       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Audrey Gustave                               Division of St. Croix.                            SX-2021-CV-00164       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Avan Casimir                                 of St. Croix.                                      1:2022-CV-00034       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Avis Reid                                    Division of St. Croix.                            SX-2021-CV-00647       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Baltimore, Link                              Division of St. Croix.                            SX-2021-CV-00047       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Barry, James                                 Division of St. Croix.                            SX-2020-CV-00841       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Barthelmy Dantes                             of St. Croix.                                      1:2021-CV-00243       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Batista, Juan                                Division of St. Croix.                            SX-2020-CV-00951       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bazil, Joanness                              Division of St. Croix.                            SX-2020-CV-00843       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Beharry, Lawrence J, Sr                      Division of St. Croix.                            SX-2020-CV-00260       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Beharry, Pascal W                            Division of St. Croix.                            SX-2020-CV-00673       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Belardo, Fidel                               of St. Croix.                                      1:2021-CV-00201       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Belardo, Hector C.                           Division of St. Croix.                            SX-2020-CV-00834       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Benjamin, Alford D                           Division of St. Croix.                            SX-2020-CV-00956       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Bernadette Abraham-Soldiew                   of St. Croix.                                      1:2021-CV-00191       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bernadine John Baptiste                      Division of St. Croix.                            SX-2021-CV-00428       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bernard Williams                             Division of St. Croix.                            SX-2021-CV-00875       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Bernard, Angelo                              of St. Croix.                                      1:2020-CV-00080       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bernett Joseph                               Division of St. Croix.                            SX-2021-CV-00526       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bhola, Anthony                               Division of St. Croix.                            SX-2020-CV-00840       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bibiana Philogene                            Division of St. Croix.                            SX-2021-CV-00534       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Blake Caldena                                Division of St. Croix.                            SX-2021-CV-00870       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Blake, Irvine E                              Division of St. Croix.                            SX-2020-CV-00942       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Boland, Veronica                             Division of St. Croix.                            SX-2020-CV-00903       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bougouneau, Francisca                        Division of St. Croix.                            SX-2021-CV-00016       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bougouneau, Francisca Andrea                 Division of St. Croix.                            SX-2020-CV-00578       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bougouneau, Jeremiah                         Division of St. Croix.                            SX-2020-CV-00859       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Bowery, Ira                                  Division of St. Croix.                            SX-2021-CV-00042       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Brown, Clarence G                            Division of St. Croix.                            SX-2020-CV-00579       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Brown, Frank                                 Division of St. Croix.                            SX-2020-CV-00869       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Browne, Alexis H                             Division of St. Croix.                            SX-2020-CV-00955       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Browne, Alfred                               Division of St. Croix.                            SX-2020-CV-00864       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Browne, Edwin                                Division of St. Croix.                            SX-2021-CV-00049       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Burke, Tyrone                                Division of St. Croix.                            SX-2020-CV-00944       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Candida Acosta-Lewis                         Division of St. Croix.                            SX-2021-CV-00104       Burns Charest LLP



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                          Claimant Name             Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                           Superior Court of the Virgin Islands,
Canice McFarlane                           Division of St. Croix.                            SX-2021-CV-00761       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Carlos P Mulrain                           Division of St. Croix.                            SX-2021-CV-00740       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Carmela Errilienne                         Division of St. Croix.                            SX-2021-CV-00523       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Carmen Lopez                               Division of St. Croix.                            SX-2021-CV-00612       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Carmen Mayfield                            of St. Croix.                                      1:2022-CV-00033       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Carmen Santiago                            Division of St. Croix.                            SX-2021-CV-00102       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Carolyn Maynard                            Division of St. Croix.                            SX-2021-CV-00623       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Castro Pablo                               Division of St. Croix.                            SX-2021-CV-00851       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Catherine Antoine                          of St. Croix.                                      1:2021-CV-00304       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Catherine Charles                          Division of St. Croix.                            SX-2021-CV-00833       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Catherine Daniel                           Division of St. Croix.                            SX-2021-CV-00108       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Catherine Phillip                          Division of St. Croix.                            SX-2021-CV-00352       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Celestine Gordon                           Division of St. Croix.                            SX-2021-CV-00362       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Celina Bodley                              Division of St. Croix.                            SX-2021-CV-00131       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Charles Deterville                         Division of St. Croix.                            SX-2021-CV-00812       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Charles Jacob                              Division of St. Croix.                            SX-2021-CV-00097       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Charles Powell                             Division of St. Croix.                            SX-2021-CV-00616       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Charles, Cuthbert R                        Division of St. Croix.                            SX-2020-CV-00876       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Charles, Ita                               Division of St. Croix.                            SX-2021-CV-00015       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Ched Antoine, as PR for Jamfes Antoine     of St. Croix.                                      1:2021-CV-00273       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Cheryann Thomas-Cooke                      of St. Croix.                                      1:2022-CV-00026       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Cheryl Azille                              of St. Croix.                                      1:2022-CV-00029       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cheryl Richardson                          Division of St. Croix.                            SX-2021-CV-00805       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Christian Farrelly                         Division of St. Croix.                            SX-2020-CV-00976       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Christine Daniel                           Division of St. Croix.                            SX-2021-CV-00165       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Claudette King                             Division of St. Croix.                            SX-2021-CV-00168       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Claudius Thomas                            Division of St. Croix.                            SX-2022-CV-00063       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Clement Languedoc                          Division of St. Croix.                            SX-2021-CV-00766       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Clinton Henry                              Division of St. Croix.                            SX-2022-CV-00114       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Clouden, Elvita                            Division of St. Croix.                            SX-2020-CV-00827       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Clovis, Lawrence                           Division of St. Croix.                            SX-2020-CV-00966       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Combie, Eliza                              Division of St. Croix.                            SX-2020-CV-00857       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Consula Matthew                            Division of St. Croix.                            SX-2021-CV-00617       Burns Charest LLP

                                           District Court of the Virgin Islands, Division
Cora Straker                               of St. Croix.                                      1:2022-CV-00025       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Coria Rene                                 Division of St. Croix.                            SX-2021-CV-00409       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cornelia Louis                             Division of St. Croix.                            SX-2022-CV-00066       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cornelius Mitchell                         Division of St. Croix.                            SX-2021-CV-00128       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Creighton, Theresa                         Division of St. Croix.                            SX-2021-CV-00038       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cristino Cruz                              Division of St. Croix.                            SX-2020-CV-00988       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cyrilla Christophe                         Division of St. Croix.                            SX-2021-CV-00726       Burns Charest LLP
                                           Superior Court of the Virgin Islands,
Cyrille Paul                               Division of St. Croix.                            SX-2020-CV-00989       Burns Charest LLP

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                            Claimant Name                                        Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                                        Superior Court of the Virgin Islands,
Daisy Francis-Christopher                                               Division of St. Croix.                            SX-2021-CV-00806       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dalmau-Estrada, Carlos                                                  Division of St. Croix.                            SX-2021-CV-00022       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Daniel, Noel                                                            Division of St. Croix.                            SX-2020-CV-00580       Burns Charest LLP

                                                                        District Court of the Virgin Islands, Division
Davidson Abraham                                                        of St. Croix.                                      1:2021-CV-00271       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Davis, Rupert                                                           Division of St. Croix.                            SX-2020-CV-00928       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Davon Walter, as the PR of the Estate of Lunid Walter                   Division of St. Croix.                            SX-2021-CV-00821       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dayatra Emmanuel                                                        Division of St. Croix.                            SX-2021-CV-00369       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
De Lande, Clefryn                                                       Division of St. Croix.                            SX-2020-CV-00679       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Decima John Baptiste                                                    Division of St. Croix.                            SX-2021-CV-00011       Burns Charest LLP

                                                                        District Court of the Virgin Islands, Division
Defreitas, Gilbert M.                                                   of St. Croix.                                      1:2020-CV-00045       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Degrasse, William                                                       Division of St. Croix.                            SX-2020-CV-00866       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Denis Dariah                                                            Division of St. Croix.                            SX-2021-CV-00344       Burns Charest LLP

                                                                        District Court of the Virgin Islands, Division
Denis, Alphonsus                                                        of St. Croix.                                      1:2021-CV-00177       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Denis, Placide                                                          Division of St. Croix.                            SX-2021-CV-00043       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dennery, Arthur                                                         Division of St. Croix.                            SX-2020-CV-00967       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dennis Barnes, Jr                                                       Division of St. Croix.                            SX-2020-CV-00994       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Deschamps, Malcolm                                                      Division of St. Croix.                            SX-2020-CV-00863       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Desir, Urias JW                                                         Division of St. Croix.                            SX-2020-CV-00678       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dexter Arthurton                                                        Division of St. Croix.                            SX-2021-CV-00721       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Dillon Inglis                                                           Division of St. Croix.                            SX-2021-CV-00664       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Donawa, Clarence Eustace                                                Division of St. Croix.                            SX-2020-CV-00582       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Donawa, Ian                                                             Division of St. Croix.                            SX-2020-CV-00829       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Donelly, Tricia                                                         Division of St. Croix.                            SX-2021-CV-00068       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Doran, Garfield                                                         Division of St. Croix.                            SX-2020-CV-00837       Burns Charest LLP

Dorita Trimmingham, as the Personal Representative and Executor of the Superior Court of the Virgin Islands,
Estate of Leroy W Trimmingham                                          Division of St. Croix.                             SX-2021-CV-00683       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Douglas, Charles (Christian)                                           Division of St. Croix.                             SX-2020-CV-00821       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Drayton, Cleavely                                                      Division of St. Croix.                             SX-2020-CV-00264       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Ducreay, Isaiah                                                        Division of St. Croix.                             SX-2020-CV-00851       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Dudley Cox                                                             Division of St. Croix.                             SX-2021-CV-00731       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Duncan, Tyrone                                                         Division of St. Croix.                             SX-2020-CV-00925       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Dyett, George                                                          Division of St. Croix.                             SX-2020-CV-00968       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Eardley Howard Charles                                                 Division of St. Croix.                             SX-2021-CV-00645       Burns Charest LLP
                                                                       Superior Court of the Virgin Islands,
Eastman, Felix                                                         Division of St. Croix.                             SX-2021-CV-00026       Burns Charest LLP

                                                                        District Court of the Virgin Islands, Division
Efraim Soto-Santos                                                      of St. Croix.                                      1:2021-CV-00302       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Egbert Carlton Hall                                                     Division of St. Croix.                            SX-2021-CV-00462       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Elderfield Richards                                                     Division of St. Croix.                            SX-2022-CV-00059       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Eleanor Abraham                                                         Division of St. Croix.                            SX-2021-CV-00100       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Eleanor Roseline                                                        Division of St. Croix.                            SX-2021-CV-00626       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Elford Christmas                                                        Division of St. Croix.                            SX-2021-CV-00764       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Elias Bodley, as PR of Estate of Roland Bodley                          Division of St. Croix.                            SX-2021-CV-00684       Burns Charest LLP
                                                                        Superior Court of the Virgin Islands,
Elpher Prosper                                                          Division of St. Croix.                            SX-2021-CV-00505       Burns Charest LLP



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                            Claimant Name            Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                            Superior Court of the Virgin Islands,
Elsworth Stevenson                          Division of St. Croix.                            SX-2021-CV-00359       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Emerald Finney                              Division of St. Croix.                            SX-2021-CV-00610       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Emika Archibald                             Division of St. Croix.                            SX-2021-CV-00611       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Emil Joseph                                 of St. Croix.                                      1:2021-CV-00280       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Emmanuel Augustin                           Division of St. Croix.                            SX-2021-CV-00454       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Emmanuel, Hyacinth                          Division of St. Croix.                            SX-2020-CV-00960       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Enoch Simon                                 Division of St. Croix.                            SX-2020-CV-00992       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Enrique Ayala                               Division of St. Croix.                            SX-2021-CV-00872       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Est. of Alexis Denis                        Division of St. Croix.                            SX-2004-CV-00606       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Est. of Felix Colon                         Division of St. Croix.                            SX-2008-CV-00271       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Est. of Fitzroy Roberts                     Division of St. Croix.                            SX-2006-CV-00219       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Est. of Patrick Mathurin                    Division of St. Croix.                            SX-2006-CV-00223       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Arnold Anthony                    Division of St. Croix.                            SX-2004-CV-00607       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Eli McKenzie                      Division of St. Croix.                            SX-2006-CV-00653       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Ezekiel Farrell                   Division of St. Croix.                            SX-2015-CV-00506       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Francisco Carrasquillo-Acosta     Division of St. Croix.                            SX-2006-CV-00615       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of James Hughes                      Division of St. Croix.                            SX-2006-CV-00221       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Nicholas George                   Division of St. Croix.                            SX-2005-CV-00221       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Rosemary Nicholas                 Division of St. Croix.                            SX-2020-CV-00684       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Estate of Scipio Murren                     Division of St. Croix.                            SX-2015-CV-00504       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Esther Theobbles                            Division of St. Croix.                            SX-2021-CV-00855       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Eugenia East                                Division of St. Croix.                            SX-2021-CV-00811       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Eugenia JnMarie                             of St. Croix.                                      1:2021-CV-00196       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Eugenia Stanley                             Division of St. Croix.                            SX-2021-CV-00421       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Eunice George                               Division of St. Croix.                            SX-2021-CV-00446       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Eustace Rose                                Division of St. Croix.                            SX-2021-CV-00139       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Evans, Gualbert                             Division of St. Croix.                            SX-2020-CV-00954       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Evans, Hugh                                 Division of St. Croix.                            SX-2020-CV-00886       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Everton Knight                              Division of St. Croix.                            SX-2020-CV-00034       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Exilia Fonetenelle                          Division of St. Croix.                            SX-2021-CV-00824       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Ezra Celestin                               Division of St. Croix.                            SX-2021-CV-00831       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Fabian, Patricio                            Division of St. Croix.                            SX-2020-CV-00871       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Fahie, Royce H                              Division of St. Croix.                            SX-2020-CV-00873       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Farrow, Oliver                              Division of St. Croix.                            SX-2020-CV-00849       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Felice Grant                                Division of St. Croix.                            SX-2021-CV-00556       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Felicite Patricia Albert                    Division of St. Croix.                            SX-2021-CV-00624       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Felipe Ledesma                              of St. Croix.                                      1:2021-CV-00299       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Felipe Rios                                 Division of St. Croix.                            SX-2015-CV-00505       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Felix, Anthony                              Division of St. Croix.                            SX-2020-CV-00855       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Ferdinand Abraham                           of St. Croix.                                      1:2021-CV-00272       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Figueroa, Carlos J                          Division of St. Croix.                            SX-2020-CV-00945       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Fitzroy B Matthew                           Division of St. Croix.                            SX-2021-CV-00531       Burns Charest LLP

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                           Claimant Name                       Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                      Superior Court of the Virgin Islands,
Flood, Cynthia                                        Division of St. Croix.                            SX-2020-CV-00889       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Floretta Prevost                                      Division of St. Croix.                            SX-2021-CV-00160       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Fonda Gill, As The PR of The Estate of Emerson Gill   Division of St. Croix.                            SX-2022-CV-00008       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Forde, Linroy                                         Division of St. Croix.                            SX-2020-CV-00924       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Fox, Melwyn Elias                                     Division of St. Croix.                            SX-2020-CV-00585       Burns Charest LLP

                                                      District Court of the Virgin Islands, Division
Frances Mondesir                                      of St. Croix.                                      1:2021-CV-00245       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Francois St Remy                                      Division of St. Croix.                            SX-2021-CV-00874       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Frank Jeremiah                                        Division of St. Croix.                            SX-2022-CV-00081       Burns Charest LLP

                                                      District Court of the Virgin Islands, Division
Frederico Garcia                                      of St. Croix.                                      1:2022-CV-00030       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Freeman, Sr., Eugene T.                               Division of St. Croix.                            SX-2020-CV-00809       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gabriel Alexander                                     Division of St. Croix.                            SX-2006-CV-00237       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Garcia, Felix                                         Division of St. Croix.                            SX-2021-CV-00020       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Garcia, Juan                                          Division of St. Croix.                            SX-2020-CV-00838       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Garcia, Reynaldo                                      Division of St. Croix.                            SX-2020-CV-00822       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gaston, Simone                                        Division of St. Croix.                            SX-2020-CV-00900       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gee Cuffy, Jr                                         Division of St. Croix.                            SX-2021-CV-00506       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gemma Mitchell                                        Division of St. Croix.                            SX-2022-CV-00070       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
George Fontenelle                                     Division of St. Croix.                            SX-2021-CV-00099       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
George Joseph                                         Division of St. Croix.                            SX-2019-CV-00249       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
George, Cuthbert                                      Division of St. Croix.                            SX-2020-CV-00823       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gerard Nelson                                         Division of St. Croix.                            SX-2006-CV-00192       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gerard St Rose                                        Division of St. Croix.                            SX-2020-CV-00982       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gertrude John                                         Division of St. Croix.                            SX-2021-CV-00542       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gertrude St Rose                                      Division of St. Croix.                            SX-2021-CV-00535       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gervais, Rufinus                                      Division of St. Croix.                            SX-2021-CV-00027       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gifford, Alain                                        Division of St. Croix.                            SX-2020-CV-00833       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gilbert, Idonia                                       Division of St. Croix.                            SX-2021-CV-00167       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gilbert, Joseph                                       Division of St. Croix.                            SX-2020-CV-00674       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gladstone Browne                                      Division of St. Croix.                            SX-2021-CV-00838       Burns Charest LLP

                                                      District Court of the Virgin Islands, Division
Gomez, Oscar                                          of St. Croix.                                      1:2020-CV-00094       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gonzague, Augusta                                     Division of St. Croix.                            SX-2021-CV-00059       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gonzales, Glen                                        Division of St. Croix.                            SX-2020-CV-00946       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gonzalez, Mario                                       Division of St. Croix.                            SX-2020-CV-00844       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Grace Joseph                                          Division of St. Croix.                            SX-2021-CV-00111       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Green, Tony Curtis                                    Division of St. Croix.                            SX-2020-CV-00939       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Greenaway, Dan                                        Division of St. Croix.                            SX-2020-CV-00856       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Greene, Alwyn                                         Division of St. Croix.                            SX-2021-CV-00050       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Gregor Richelieu                                      Division of St. Croix.                            SX-2021-CV-00637       Burns Charest LLP
                                                      Superior Court of the Virgin Islands,
Guadalupe, Domingo                                    Division of St. Croix.                            SX-2020-CV-00814       Burns Charest LLP

                                                      District Court of the Virgin Islands, Division
Guadalupe, Javier, Jr.                                of St. Croix.                                      1:2020-CV-00051       Burns Charest LLP

                                                      District Court of the Virgin Islands, Division
Gwendolyn Jacobs                                      of St. Croix.                                      1:2021-CV-00305       Burns Charest LLP



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                                                    Superior Court of the Virgin Islands,
Hamilton, Ambrose                                   Division of St. Croix.                            SX-2020-CV-00267       Burns Charest LLP

                                                    District Court of the Virgin Islands, Division
Harold Abraham                                      of St. Croix.                                      1:2021-CV-00242       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Heafline Bannis                                     Division of St. Croix.                            SX-2021-CV-00105       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Helen Isidore                                       Division of St. Croix.                            SX-2021-CV-00725       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Helena Denbow                                       Division of St. Croix.                            SX-2021-CV-00856       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henreker Liburd                                     Division of St. Croix.                            SX-2021-CV-00857       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry Gonzague, Jr                                  Division of St. Croix.                            SX-2021-CV-00355       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, George                                       Division of St. Croix.                            SX-2021-CV-00041       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, Mary G.                                      Division of St. Croix.                            SX-2020-CV-00804       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, Michael                                      Division of St. Croix.                            SX-2021-CV-00044       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, Miles                                        Division of St. Croix.                            SX-2020-CV-00964       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, Nicholas                                     Division of St. Croix.                            SX-2020-CV-00587       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henry, Paul (Mediated)                              Division of St. Croix.                            SX-2020-CV-00915       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Henson Emanuel                                      Division of St. Croix.                            SX-2021-CV-00863       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Hinkson, Francilla                                  Division of St. Croix.                            SX-2020-CV-00898       Burns Charest LLP

                                                    District Court of the Virgin Islands, Division
Hollis Prime                                        of St. Croix.                                      1:2021-cv-00292       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Hospedales, Roderick                                Division of St. Croix.                            SX-2020-CV-00831       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Humberto Ayala                                      Division of St. Croix.                            SX-2021-CV-00773       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Ingrid Benton                                       Division of St. Croix.                            SX-2021-CV-00729       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jackline Finney                                     Division of St. Croix.                            SX-2021-CV-00357       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jaime Castro                                        Division of St. Croix.                            SX-2022-CV-00074       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
James , Francis                                     Division of St. Croix.                            SX-2020-CV-00850       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
James McNamara, as PR of Estate of Luke Frederick   Division of St. Croix.                            SX-2021-CV-00674       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
James, Brenda                                       Division of St. Croix.                            SX-2020-CV-00905       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
James, Irwin L                                      Division of St. Croix.                            SX-2020-CV-00269       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
James, Jerome                                       Division of St. Croix.                            SX-2020-CV-00828       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Janelle Coburn                                      Division of St. Croix.                            SX-2021-CV-00837       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Janine McBean                                       Division of St. Croix.                            SX-2021-CV-00633       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jarvis, Leroy                                       Division of St. Croix.                            SX-2020-CV-00965       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jean, Larry                                         Division of St. Croix.                            SX-2021-CV-00045       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jeanne David                                        Division of St. Croix.                            SX-2021-CV-00792       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jeffers, Wilfred Z                                  Division of St. Croix.                            SX-2020-CV-00953       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jeremiah Felicien                                   Division of St. Croix.                            SX-2021-CV-00873       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Jno-Baptiste, Nicholas                              Division of St. Croix.                            SX-2020-CV-00258       Burns Charest LLP

                                                    District Court of the Virgin Islands, Division
Joan John                                           of St. Croix.                                      1:2022-CV-00028       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Joanna Desir                                        Division of St. Croix.                            SX-2021-CV-00109       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
Joanna Leon                                         Division of St. Croix.                            SX-2021-CV-00744       Burns Charest LLP

                                                    District Court of the Virgin Islands, Division
Joel Tutein                                         of St. Croix.                                      1:2021-CV-00303       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
John B William                                      Division of St. Croix.                            SX-2021-CV-00628       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
John Desouza                                        Division of St. Croix.                            SX-2021-CV-00743       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
John Manie                                          Division of St. Croix.                            SX-2021-CV-00796       Burns Charest LLP
                                                    Superior Court of the Virgin Islands,
John Paul                                           Division of St. Croix.                            SX-2021-CV-00354       Burns Charest LLP

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                         Claimant Name               Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                            Superior Court of the Virgin Islands,
John Ramdhanny                              Division of St. Croix.                            SX-2021-CV-00848       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Jorge Soto                                  Division of St. Croix.                            SX-2021-CV-00839       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Jose Lopez-Acosta                           Division of St. Croix.                            SX-2022-CV-00062       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Jose Sanchez                                Division of St. Croix.                            SX-2006-CV-00614       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph Herelle                              Division of St. Croix.                            SX-2019-CV-00252       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph Joaquin                              Division of St. Croix.                            SX-2021-CV-00760       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph Mess                                 Division of St. Croix.                            SX-2022-CV-00052       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Joseph Prescott                             of St. Croix.                                      1:2021-CV-00301       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph Vigilant Hill                        Division of St. Croix.                            SX-2021-CV-00728       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, Elwin                               Division of St. Croix.                            SX-2020-CV-00832       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, George                              Division of St. Croix.                            SX-2020-CV-00952       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, Judith                              Division of St. Croix.                            SX-2021-CV-00054       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, Kenneth                             Division of St. Croix.                            SX-2020-CV-00894       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, Magilta                             Division of St. Croix.                            SX-2021-CV-00055       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joseph, Selwin George                       Division of St. Croix.                            SX-2020-CV-00895       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joshua S Browne                             Division of St. Croix.                            SX-2021-CV-00408       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Jovo Cotto Jr.                              of St. Croix.                                      1:2021-CV-00277       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Joyce James Galiber                         of St. Croix.                                      1:2021-CV-00325       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joyceline Noelien                           Division of St. Croix.                            SX-2021-CV-00103       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Joycelyn Thomas                             Division of St. Croix.                            SX-2021-CV-00621       Burns Charest LLP

                                            District Court of the Virgin Islands, Division
Juan Alamo                                  of St. Croix.                                      1:2021-CV-00190       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Judith Doran                                Division of St. Croix.                            SX-2021-CV-00620       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Julia Charles                               Division of St. Croix.                            SX-2021-CV-00447       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Julianna Evans                              Division of St. Croix.                            SX-2021-CV-00132       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Julie James                                 Division of St. Croix.                            SX-2021-CV-00370       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Julietta Coleman                            Division of St. Croix.                            SX-2021-CV-00864       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Kadar Mohansingh                            Division of St. Croix.                            SX-2006-CV-00231       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Kendall Roberts                             Division of St. Croix.                            SZ-2006-CV-00238       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Kendrick Elcock                             Division of St. Croix.                            SX-2021-CV-00525       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lazare, Louise                              Division of St. Croix.                            SX-2020-CV-00847       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Leblanc, Alex G                             Division of St. Croix.                            SX-2020-CV-00266       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lenroy Drew                                 Division of St. Croix.                            SX-2022-CV-00071       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Leon, Aybert                                Division of St. Croix.                            SX-2020-CV-00881       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Leon, Michael                               Division of St. Croix.                            SX-2020-CV-00858       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Leonce, Phylis                              Division of St. Croix.                            SX-2021-CV-00067       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lester Vigilant                             Division of St. Croix.                            SX-2021-CV-00622       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Liburd, Dave                                Division of St. Croix.                            SX-2020-CV-00861       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lilda Decaille                              Division of St. Croix.                            SX-2021-CV-00444       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Ling, Michael Lee                           Division of St. Croix.                            SX-2020-CV-00802       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Linton Robertson                            Division of St. Croix.                            SX-2022-CV-00115       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lisa Braithwaite                            Division of St. Croix.                            SX-2021-CV-00507       Burns Charest LLP
                                            Superior Court of the Virgin Islands,
Lopez-Quintana, Juan                        Division of St. Croix.                            SX-2021-CV-00025       Burns Charest LLP

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                           Claimant Name              Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                             Superior Court of the Virgin Islands,
Lubin, Jonah N                               Division of St. Croix.                            SX-2020-CV-00268       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lucette Merced-Green                         Division of St. Croix.                            SX-2021-CV-00172       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lucia Marcelle                               Division of St. Croix.                            SX-2021-CV-00738       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lucille Henry                                Division of St. Croix.                            SX-2021-CV-00823       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lucy C Talian                                Division of St. Croix.                            SX-2021-CV-00718       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lydia McIntosh                               Division of St. Croix.                            SX-2021-CV-00166       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Lyne Turnbull-James                          Division of St. Croix.                            SX-2021-CV-00734       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mable Cuffy                                  Division of St. Croix.                            SX-2021-CV-00119       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Maharaj, Devraj                              of St. Croix.                                      1:2020-CV-00114       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maishaleen Lopez                             Division of St. Croix.                            SX-2021-CV-00613       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Malvina Jackson                              Division of St. Croix.                            SX-2021-CV-00365       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Margarita Joseph                             Division of St. Croix.                            SX-2021-CV-00155       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Marguerite Wilton                            Division of St. Croix.                            SX-2021-CV-00521       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maria Baptiste                               Division of St. Croix.                            SX-2021-CV-00423       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maria M Hepburn                              Division of St. Croix.                            SX-2021-CV-00868       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maria R Guadalupe-Thomas                     Division of St. Croix.                            SX-2021-CV-00865       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maria Sanes                                  Division of St. Croix.                            SX-2021-CV-00170       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Marian Mitchell                              Division of St. Croix.                            SX-2021-CV-00867       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Marie Auguste                                Division of St. Croix.                            SX-2021-CV-00358       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Marie Serieux                                Division of St. Croix.                            SX-2021-CV-00631       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Marilyn Nyack                                Division of St. Croix.                            SX-2021-CV-00595       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mario Carroll                                Division of St. Croix.                            SX-2021-CV-00098       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mariska Scotland                             Division of St. Croix.                            SX-2021-CV-00866       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mark Victor                                  Division of St. Croix.                            SX-2021-CV-00835       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Martin, Telbert                              Division of St. Croix.                            SX-2020-CV-00923       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Martina Simeina                              Division of St. Croix.                            SX-2021-CV-00345       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Anna Weeks                              Division of St. Croix.                            SX-2021-CV-00540       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Clercin                                 Division of St. Croix.                            SX-2021-CV-00836       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Mary Eugene                                  of St. Croix.                                      1:2021-CV-00194       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Glover                                  Division of St. Croix.                            SX-2022-CV-00067       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Leon                                    Division of St. Croix.                            SX-2021-CV-00368       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Mary Longville                               of St. Croix.                                      1:2021-cv-00244       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Lucille                                 Division of St. Croix.                            SX-2021-CV-00532       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary Maxwell                                 Division of St. Croix.                            SX-2021-CV-00615       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mary St Rose                                 Division of St. Croix.                            SX-2021-CV-00366       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Massicott, Jeannoel S                        Division of St. Croix.                            SX-2020-CV-00879       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mathurin, Bernard                            Division of St. Croix.                            SX-2020-CV-00892       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Mathurin, Gregory                            Division of St. Croix.                            SX-2020-CV-00927       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
MathurinVitalis                              Division of St. Croix.                            SX-2021-CV-00012       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maxwell, Weldon                              Division of St. Croix.                            SX-2020-CV-00845       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maynard Lazare                               Division of St. Croix.                            SX-2021-CV-00890       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Maynard, James                               Division of St. Croix.                            SX-2020-CV-00882       Burns Charest LLP



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                            Claimant Name                              Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                              Superior Court of the Virgin Islands,
McIntosh, Daniel                                              Division of St. Croix.                            SX-2020-CV-00589       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
McMahon, Vincent                                              Division of St. Croix.                            SX-2020-CV-00957       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
McNamara, James                                               of St. Croix.                                      1:2020-CV-00060       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Melvin Benjamin                                               Division of St. Croix.                            SX-2021-CV-00141       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Merced, Edgar                                                 Division of St. Croix.                            SX-2020-CV-00870       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Merlyn Massicott                                              Division of St. Croix.                            SX-2021-CV-00356       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Mervyn Henry                                                  Division of St. Croix.                            SX-2022-CV-00092       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Mervyn Henry                                                  Division of St. Croix.                            SX-2022-CV-00095       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Michael C. John                                               of St. Croix.                                      1:2021-CV-00279       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Michael Clarke                                                Division of St. Croix.                            SX-2020-CV-00978       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Michael Elsworth Matthew                                      Division of St. Croix.                            SX-2021-CV-00457       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Michael K Alexander                                           Division of St. Croix.                            SX-2021-CV-00517       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Michael Thomas                                                Division of St. Croix.                            SX-2020-CV-00993       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Michael, Coletta                                              Division of St. Croix.                            SX-2020-CV-00904       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Mitchell, Alfred                                              Division of St. Croix.                            SX-2021-CV-00013       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Mitchell, Clayton                                             Division of St. Croix.                            SX-2020-CV-00819       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Moe, Russell                                                  Division of St. Croix.                            SX-2020-CV-00884       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Montoute-Dumar, Clarita                                       Division of St. Croix.                            SX-2021-CV-00058       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Moore, Steven                                                 Division of St. Croix.                            SX-2020-CV-00839       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Morris Benjamin                                               Division of St. Croix.                            SX-2020-CV-00980       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Moses, Godclive                                               Division of St. Croix.                            SX-2021-CV-00021       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Munchez-Nurse, Barbara A.                                     of St. Croix.                                      1:2020-CV-00061       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Murray, Michael                                               Division of St. Croix.                            SX-2020-CV-00947       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Myrna Lopez                                                   of St. Croix.                                      1:2021-CV-00282       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Natalia Herman-Sadoo                                          Division of St. Croix.                            SX-2021-CV-00115       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nathalie Desbonnes                                            Division of St. Croix.                            SX-2022-CV-00093       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nathalie Desbonnes                                            Division of St. Croix.                            SX-2022-CV-00094       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Neil Corridon                                                 of St. Croix.                                      1:2022-CV-00031       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nelson, Clement                                               Division of St. Croix.                            SX-2020-CV-00901       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Newton, Sharon                                                of St. Croix.                                      1:2021-CV-00200       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nieves, Sonia                                                 Division of St. Croix.                            SX-2021-CV-00063       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nina O’Bryan                                                  Division of St. Croix.                            SX-2021-CV-00455       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nisbeth, Edric                                                Division of St. Croix.                            SX-2021-CV-00029       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Nobbie, Ainsley                                               Division of St. Croix.                            SX-2020-CV-00677       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Norford, Derrick                                              Division of St. Croix.                            SX-2020-CV-00896       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Norma Nales-Martinez                                          Division of St. Croix.                            SX-2021-CV-00346       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Norma Parris-Bruce                                            Division of St. Croix.                            SX-2021-CV-00817       Burns Charest LLP

                                                              District Court of the Virgin Islands, Division
Norris Rupert St. Henry                                       of St. Croix.                                      1:2021-CV-00281       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Octalien, Norbert C                                           Division of St. Croix.                            SX-2020-CV-00887       Burns Charest LLP
                                                              Superior Court of the Virgin Islands,
Octavia Ferdinand, as PR for the Estate of Octave Ferdinand   Division of St. Croix.                            SX-2022-CV-00043       Burns Charest LLP



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                             Claimant Name                                        Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                                         Superior Court of the Virgin Islands,
Onesimus Chiverton                                                       Division of St. Croix.                            SX-2022-CV-00061       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Osorio, Jr , Pedro                                                       Division of St. Croix.                            SX-2021-CV-00033       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Patricia Mathurin                                                        Division of St. Croix.                            SX-2021-CV-00461       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Patrick Nelson Thomas                                                    Division of St. Croix.                            SX-2021-CV-00422       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Patrick Phillips                                                         Division of St. Croix.                            SX-2022-CV-00032       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Paul, Anthony                                                            Division of St. Croix.                            SX-2020-CV-00590       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Paula Crispin                                                            Division of St. Croix.                            SX-2021-CV-00509       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Pedrito Coto                                                             Division of St. Croix.                            SX-2022-CV-00075       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Pedro Oliver                                                             Division of St. Croix.                            SX-2021-CV-00850       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Peter Delande                                                            Division of St. Croix.                            SX-2021-CV-00625       Burns Charest LLP

                                                                         District Court of the Virgin Islands, Division
Peter Edward                                                             of St. Croix.                                      1:2022-CV-00027       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Peter, Michael                                                           Division of St. Croix.                            SX-2020-CV-00852       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Peterson, Lucien                                                         Division of St. Croix.                            SX-2020-CV-00270       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Petronella Sargeant                                                      Division of St. Croix.                            SX-2021-CV-00840       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Phangyou, Carl P. J.                                                     Division of St. Croix.                            SX-2020-CV-00825       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Phillip Collins                                                          Division of St. Croix.                            SX-2021-CV-00138       Burns Charest LLP

                                                                         District Court of the Virgin Islands, Division
Phillip E. Daniel                                                        of St. Croix.                                      1:2021-CV-00278       Burns Charest LLP

                                                                         District Court of the Virgin Islands, Division
Phillip Paul                                                             of St. Croix.                                      1:2021-CV-00300       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Phillip, Vaughn                                                          Division of St. Croix.                            SX-2020-CV-00824       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Philogene, Lawrence                                                      Division of St. Croix.                            SX-2020-CV-00680       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Pius Fontenelle, as PR of the Estate of Teresa Fontenelle, Deceased      Division of St. Croix.                            SX-2021-CV-00889       Burns Charest LLP
Plante, Marion, as the personal representative of the Estate of Joseph   Superior Court of the Virgin Islands,
Plante                                                                   Division of St. Croix.                            SX-2020-CV-00929       Burns Charest LLP

                                                                         District Court of the Virgin Islands, Division
Poleon, Celina                                                           of St. Croix.                                      1:2020-CV-00115       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Poleon, John                                                             Division of St. Croix.                            SX-2020-CV-00926       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Pricilla John Baptiste                                                   Division of St. Croix.                            SX-2021-CV-00841       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Rambally, Brian                                                          Division of St. Croix.                            SX-2021-CV-00023       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Ras, Luis                                                                Division of St. Croix.                            SX-2020-CV-00874       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Raul Gonzalez                                                            Division of St. Croix.                            SX-2021-CV-00891       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Rebecca Lestrade                                                         Division of St. Croix.                            SX-2021-CV-00619       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Regina Boyer                                                             Division of St. Croix.                            SX-2021-CV-00853       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Renee Tann                                                               Division of St. Croix.                            SX-2021-CV-00154       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Rennie Benwaree                                                          Division of St. Croix.                            SX-2021-CV-00420       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Rennie, Lloyd                                                            Division of St. Croix.                            SX-2021-CV-00046       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Rennie, Ronnie                                                           Division of St. Croix.                            SX-2020-CV-00899       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Reuben Weekes                                                            Division of St. Croix.                            SX-2022-CV-00082       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Reuben, Aaron                                                            Division of St. Croix.                            SX-2020-CV-00961       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Reynard D Menders, Sr                                                    Division of St. Croix.                            SX-2021-CV-00716       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Richard A Samuel                                                         Division of St. Croix.                            SX-2020-CV-00986       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Richard Allen, Sr                                                        Division of St. Croix.                            SX-2020-CV-00971       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Richelieu, Gregory E                                                     Division of St. Croix.                            SX-2020-CV-00259       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Richelieu, Margarita                                                     Division of St. Croix.                            SX-2020-CV-00912       Burns Charest LLP




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                          Claimant Name               Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel

                                             District Court of the Virgin Islands, Division
Rita Browne                                  of St. Croix.                                      1:2021-CV-00274       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rita Velazquez                               Division of St. Croix.                            SX-2021-CV-00106       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rivera, Jose                                 Division of St. Croix.                            SX-2021-CV-00036       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rivera, Sandro                               Division of St. Croix.                            SX-2020-CV-00963       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rivera, Santos                               Division of St. Croix.                            SX-2020-CV-00846       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Rivera-Lopez, Santos                         of St. Croix.                                      1:2020-CV-00057       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Robert Phangyou                              Division of St. Croix.                            SX-2022-CV-00072       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Roberto Figueroa                             Division of St. Croix.                            SX-2021-CV-00504       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Roberts, Cuthbert F                          Division of St. Croix.                            SX-2020-CV-00949       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Roderick Gordon                              Division of St. Croix.                            SX-2022-CV-00076       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rodney Blake                                 Division of St. Croix.                            SX-2022-CV-00054       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rodney Solomon                               Division of St. Croix.                            SX-2020-CV-00987       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Roger A Roberts                              Division of St. Croix.                            SX-2020-CV-00981       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Rollin Viotty                                of St. Croix.                                      1:2022-CV-00024       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Romain, Andrew                               Division of St. Croix.                            SX-2020-CV-00805       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Ronald Sealey                                Division of St. Croix.                            SX-2020-CV-00979       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rosa Xavier                                  Division of St. Croix.                            SX-2021-CV-00465       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rosa, Sonia                                  Division of St. Croix.                            SX-2020-CV-00902       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Rosetta Lawrence                             Division of St. Croix.                            SX-2021-CV-00156       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Russell, Hulester                            Division of St. Croix.                            SX-2020-CV-00812       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sadoo, Ricardo                               Division of St. Croix.                            SX-2020-CV-00817       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sam, Reginald A.                             Division of St. Croix.                            SX-2020-CV-00815       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Samuel, Virginia                             of St. Croix.                                      1:2021-CV-00237       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Santiago, Bernabe Jr.                        Division of St. Croix.                            SX-2020-CV-00842       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Santiago, Luis                               Division of St. Croix.                            SX-2020-CV-00865       Burns Charest LLP

                                             District Court of the Virgin Islands, Division
Sargeant, Vincent                            of St. Croix.                                      1:2020-CV-00068       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sean Ian Wickham                             Division of St. Croix.                            SX-2021-CV-00807       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Seecharan, Alvan                             Division of St. Croix.                            SX-2020-CV-00862       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sharia Durgah                                Division of St. Croix.                            SX-2021-CV-00854       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sheralda Guadalupe                           Division of St. Croix.                            SX-2021-CV-00528       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Shirley Alibocas                             Division of St. Croix.                            SX-2021-CV-00557       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Shirley Cuffy                                Division of St. Croix.                            SX-2021-CV-00161       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Silvestre, Juan Riveras                      Division of St. Croix.                            SX-2020-CV-00820       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Simnia Eugene                                Division of St. Croix.                            SX-2021-CV-00544       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Simon, Lesroy                                Division of St. Croix.                            SX-2020-CV-00265       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sirdrina Isaac-Joseph                        Division of St. Croix.                            SX-2021-CV-00429       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Skitter Verna Clercin                        Division of St. Croix.                            SX-2021-CV-00869       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Smith, Anthony                               Division of St. Croix.                            SX-2020-CV-00835       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Smith, James A                               Division of St. Croix.                            SX-2021-CV-00017       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sonia Cirilo                                 Division of St. Croix.                            SX-2021-CV-00739       Burns Charest LLP
                                             Superior Court of the Virgin Islands,
Sookoo, Richie                               Division of St. Croix.                            SX-2021-CV-00048       Burns Charest LLP



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                            Claimant Name                                          Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                                          Superior Court of the Virgin Islands,
Sophia Francis                                                            Division of St. Croix.                            SX-2021-CV-00116       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Soto-Nieves, Irma                                                         Division of St. Croix.                            SX-2021-CV-00069       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
St Jean Wong, Meredith                                                    Division of St. Croix.                            SX-2021-CV-00057       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
St Rose, Saraphine                                                        Division of St. Croix.                            SX-2021-CV-00073       Burns Charest LLP

                                                                          District Court of the Virgin Islands, Division
St. George Joseph                                                         of St. Croix.                                      1:2022-CV-00032       Burns Charest LLP

                                                                          District Court of the Virgin Islands, Division
Stafford Browne                                                           of St. Croix.                                      1:2021-CV-00275       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Stedman Hughes                                                            Division of St. Croix.                            SX-2021-CV-00648       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Stephanie Granger                                                         Division of St. Croix.                            SX-2021-CV-00120       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Stephanie Wheeler                                                         Division of St. Croix.                            SX-2021-CV-00636       Burns Charest LLP

                                                                          District Court of the Virgin Islands, Division
Stephen Jeffers                                                           of St. Croix.                                      1:2021-CV-00298       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Stephenson, Eugene                                                        Division of St. Croix.                            SX-2020-CV-00931       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Subniak, Dianan                                                           Division of St. Croix.                            SX-2021-CV-00010       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Sydney, John                                                              Division of St. Croix.                            SX-2020-CV-00271       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Sykes, Eric                                                               Division of St. Croix.                            SX-2021-CV-00018       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Sylvester John                                                            Division of St. Croix.                            SX-2021-CV-00830       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Sylvia Barry                                                              Division of St. Croix.                            SX-2021-CV-00627       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Tabita Phangyou                                                           Division of St. Croix.                            SX-2021-CV-00117       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Taylor, Macdonald                                                         Division of St. Croix.                            SX-2020-CV-00906       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Thecla Weston                                                             Division of St. Croix.                            SX-2021-CV-00715       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Theodile, Ruthine                                                         Division of St. Croix.                            SX-2020-CV-00897       Burns Charest LLP

                                                                          District Court of the Virgin Islands, Division
Theodore, Roselyn                                                         of St. Croix.                                      1:2021-CV-00178       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Theodule, Elizabeth                                                       Division of St. Croix.                            SX-2021-CV-00064       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Theresa Dariah                                                            Division of St. Croix.                            SX-2021-CV-00456       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Theresa Joseph                                                            Division of St. Croix.                            SX-2021-CV-00114       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Thomas Thomas                                                             Division of St. Croix.                            SX-2021-CV-00859       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Thomas, Franklyn M                                                        Division of St. Croix.                            SX-2020-CV-00263       Burns Charest LLP

Thorpe, Charline as the personal representative of the Estate of Wilmouth Superior Court of the Virgin Islands,
A Hughes                                                                  Division of St. Croix.                            SX-2020-CV-00932       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Titre, Cyril                                                              Division of St. Croix.                            SX-2020-CV-00811       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Treasure, Ferdinand                                                       Division of St. Croix.                            SX-2020-CV-00867       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Treasure, Melrose                                                         Division of St. Croix.                            SX-2021-CV-00066       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Valerie Combie                                                            Division of St. Croix.                            SX-2022-CV-00053       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Vega-Vargas, Percio                                                       Division of St. Croix.                            SX-2020-CV-00878       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Velazquez, Ada L                                                          Division of St. Croix.                            SX-2020-CV-00941       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Verdan Jagrup                                                             Division of St. Croix.                            SX-2021-CV-00762       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Verna Rita Richelieu                                                      Division of St. Croix.                            SX-2021-CV-00508       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Vernage, Matthew                                                          Division of St. Croix.                            SX-2020-CV-00940       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Veronica Eugene                                                           Division of St. Croix.                            SX-2021-CV-00550       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Veronica Rita Charles                                                     Division of St. Croix.                            SX-2021-CV-00558       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Victor Monrose                                                            Division of St. Croix.                            SX-2021-CV-00518       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Victor Ruiz Carrasquillo                                                  Division of St. Croix.                            SX-2021-CV-00759       Burns Charest LLP
                                                                          Superior Court of the Virgin Islands,
Victor, Fenton Curtis                                                     Division of St. Croix.                            SX-2021-CV-00014       Burns Charest LLP



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                             Claimant Name                                        Jurisdiction / State Filed              Case No. / Docket No.              Plaintiff Counsel
                                                                         Superior Court of the Virgin Islands,
Victoria Woodley                                                         Division of St. Croix.                            SX-2021-CV-00171       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Vigilant, Timothy                                                        Division of St. Croix.                            SX-2021-CV-00056       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Virginia Melius-Michaud                                                  Division of St. Croix.                            SX-2021-CV-00425       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Virginia St Rose                                                         Division of St. Croix.                            SX-2021-CV-00133       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Viviane Charles Mondesir                                                 Division of St. Croix.                            SX-2021-CV-00118       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wallace, Elton                                                           Division of St. Croix.                            SX-2020-CV-00950       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Walters, Shawn                                                           Division of St. Croix.                            SX-2021-CV-00019       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Waltrude Hippolyte                                                       Division of St. Croix.                            SX-2021-CV-00722       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wendy Green                                                              Division of St. Croix.                            SX-2021-CV-00832       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wheeler, Joseph C                                                        Division of St. Croix.                            SX-2020-CV-00262       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
White, Clyde                                                             Division of St. Croix.                            SX-2021-CV-00035       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
William, Augustine                                                       Division of St. Croix.                            SX-2021-CV-00040       Burns Charest LLP

                                                                         District Court of the Virgin Islands, Division
Williams, Anderson Leroy                                                 of St. Croix.                                      1:2020-CV-00104       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Williams, Carol G.                                                       Division of St. Croix.                            SX-2020-CV-00836       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Williams, Lennard                                                        Division of St. Croix.                            SX-2020-CV-00959       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Williams, Merle                                                          Division of St. Croix.                            SX-2021-CV-00062       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Williams, Spencer                                                        Division of St. Croix.                            SX-2021-CV-00024       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Williams, Vincent                                                        Division of St. Croix.                            SX-2020-CV-00818       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wilson, Alfred                                                           Division of St. Croix.                            SX-2020-CV-00261       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wiltshire, Christina                                                     Division of St. Croix.                            SX-2020-CV-00890       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Winifred Jonas                                                           Division of St. Croix.                            SX-2021-CV-00541       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Winifred President                                                       Division of St. Croix.                            SX-2021-CV-00136       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Woods, Benjamin                                                          Division of St. Croix.                            SX-2020-CV-00875       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Wranda Dariah                                                            Division of St. Croix.                            SX-2021-CV-00834       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Xiomara Hernandez-Aquino                                                 Division of St. Croix.                            SX-2021-CV-00121       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Yolanda Henry                                                            Division of St. Croix.                            SX-2021-CV-00135       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Younge, Everette                                                         Division of St. Croix.                            SX-2020-CV-00810       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Younge, Grantley A                                                       Division of St. Croix.                            SX-2020-CV-00877       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Yvette Ballantine-Phillips                                               Division of St. Croix.                            SX-2021-CV-00719       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Yvie Poleon                                                              Division of St. Croix.                            SX-2021-CV-00159       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Zenia Raymond                                                            Division of St. Croix.                            SX-2021-CV-00539       Burns Charest LLP
                                                                         Superior Court of the Virgin Islands,
Zulaika Ahamad                                                           Division of St. Croix.                            SX-2021-CV-00545       Burns Charest LLP

Carmela Susino on her own behalf and on behalf of the Estate of          District Court of the Virgin Islands, Division
Decedent, Luciano Susino and his beneficiaries                           of St. Thomas                                      3:2021-cv-00038       Law Office of Ryan W. Greene


MARINA STANISLAS on her own behalf and on behalf of the estate of
DECEDENT KELVIN STANISLAS and all other statutory beneficiaries Superior Court of the Virgin Islands,
of DECEDENT KELVIN STANISLAS,                                     Division of St. Thomas and St. John                      ST-2021-CV-00042       Law Office of Ryan W. Greene
                                                                  Superior Court of the Virgin Islands,
Abbott v. HOVENSA and HOVIC                                       Division of St. Croix.                                   SX-2010-CV-00270       Lee J. Rohn and Associates, LLC
                                                                  Superior Court of the Virgin Islands,
Amadee, Apaul v. HOVIC                                            Division of St. Croix.                                        212/1998          Lee J. Rohn and Associates, LLC

Julien St. Rose et al. v. VI Industrial Maintenance, Jacobs Industrial   Superior Court of the Virgin Islands,
Maintenance, HOVENSA, HOVIC and Hess                                     Division of St. Croix.                            SX-2002-CV-00598       Lee J. Rohn and Associates, LLC
                                                                         Superior Court of the Virgin Islands,
Pagan v. Hess et al.                                                     Division of St. Croix.                            SX-2005-CV-00740       Lee J. Rohn and Associates, LLC
                                                                         In the Circuit Court Third Judicial Circuit                              Maune Raichle Hartley French & Mudd,
Jose M. Rivera                                                           Madison County, Illinois                          No.: 2021-L-00094      LLC

                                                                         Supreme Court of The State of New York,
Bruce Torgerson                                                          County of New York                                   190051/2019         Meirowitz & Wasserberg, LLP



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                              Claimant Name            Jurisdiction / State Filed               Case No. / Docket No.              Plaintiff Counsel

                                              Supreme Court of The State of New York,
Estate of Thomas Lannaghan                    County of New York                                    190166/2014         The Early Law Firm, LLC
                                              In the Circuit Court Twentieth Judicial
Darren Delozier                               Circuit St. Clair County, Illinois                 No.: 2020-L-00095      The Gori Law Firm, P.C.
                                              In the Circuit Court Third Judicial Circuit
Estate of Benjamin Freemen                    Madison County, Illinois                           No.: 2019-L-00307      The Gori Law Firm, P.C.
                                              In the Circuit Court Twentieth Judicial
Estate. of Patricia Stewart                   Circuit St. Clair County, Illinois                 No.: 2020-L-00065      The Gori Law Firm, P.C.
                                              Superior Court of the Virgin Islands,
Adolphus Gordon                               Division of St. Croix.                             SX-1998-cv-00423       Thomas Alkon P.C.

                                              District Court of the Virgin Islands, Division
Alexander Gumbs                               of St. Croix.                                    1:04-cv-00103-RLF-GWC    Thomas Alkon P.C.
                                              Superior Court of the Virgin Islands,
Enno Lansiquot                                Division of St. Croix.                             SX-2097-CV-00431       Thomas Alkon P.C.




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